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   8

   9
                               UNITED STATES BANKRUPTCY COURT
  10
                               SOUTHERN DISTRICT OF CALIFORNIA
  11

  12

  13   In re:                                          Case No. 18-00007-MM7
  14                                                   Assigned to: Judge Margaret M. Mann
       KP3 ENDEAVORS, INC.,
  15                                                   Involuntary Chapter 7
  16
                      Alleged Debtor.
                                                       KP3 ENDEAVORS, INC.’S BRIEF
  17
                                                       IN SUPPORT OF DISMISSAL OF
  18                                                   THE INVOLUNTARY CHAPTER 7
                                                       PETITION
  19
                                                       PUBLIC REDACTED VERSION
  20
                                                       Pre-Trial Hearing:
  21                                                   Date:     April 6, 2018
                                                       Time:      2:00 P.M.
  22                                                   Location: Courtroom 218
                                                                  U.S. Bankruptcy Court
  23                                                              325 W F St.
                                                                  San Diego CA 92101
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   1   TO THE HONORABLE MARGARET MANN, U.S. BANKRUPTCY JUDGE FOR
       THE SOUTHERN DISTRICT OF CALIFORNIA AND ALL PARTIES IN INTEREST:
   2

   3          KP3 Endeavors, Inc. (“KP3” or the “Alleged Debtor”) files this brief in support of
   4   dismissal of the above-captioned proceeding pursuant to Federal Rule of Bankruptcy Procedure
   5   (“FRBP”) 1017(f) and the Court’s orders entered March 27, 2018.
   6   I.     INTRODUCTION
   7          This involuntary chapter 7 bankruptcy case was commenced by the involuntary petition

   8   (as amended, the “Petition”) filed on January 2, 2018 (the “Petition Date”). The Petition was

   9   initiated by petitioning creditors Bonnie L. Pancheri Trust (the “BLPT”) and REPS

  10   Investments, Inc. (“REPS” and, together with BLPT, the “Pancheri Creditors”), and was
  11   subsequently joined by JBH, Inc., dba San Diego Computer Consulting (“SDCC” and together
  12   with the Pancheri Creditors, the “Petitioning Creditors”) against KP3 pursuant to section 303
  13   of title 11 of the United States Code (the “Bankruptcy Code”). This proceeding epitomizes the
  14   dangers of involuntary proceedings, and the grave risks such proceedings present for both the
  15   parties and the judicial system. “The danger of involuntary bankruptcy cannot be overlooked
  16   by the courts.” In re Dino’s, 183 B.R. 779, 783 (Bankr. S.D. Ohio 1995). As the Ninth Circuit
  17   explains: “Filing an involuntary petition should be a measure of last resort because even if the
  18   petition is filed in good-faith, it can “chill the alleged debtor’s credit and sources of supply,”
  19   and “scare away his customers.” Higgins v. Vortex Fishing Sys. (In re Vortex Fishing Sys.),
  20   379 F.3d 701, 707 (9th Cir. 2004) (citing In re SBA Factors of Miami, Inc., 13 B.R. 99, 101
  21   (Bankr. S.D. Fla. 1981) (“An allegation of bankruptcy is a charge that ought not to be made
  22   lightly. . . . It leaves a permanent scar, even if promptly dismissed. It is also obvious that the
  23   use of the bankruptcy court as a routine collection device would quickly paralyze this court.”)
  24          KP3 respectfully submits that the Petition can and should be dismissed on the basis of
  25   the parties’ trial briefs. The undisputed facts and law demonstrate that Petitioning Creditors
  26   cannot meet their burden of proof on any required element of Section 303, and have filed this
  27   Petition under circumstances that constitute bad faith. The following facts are beyond dispute:
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                     Petitioning Creditors are in an acrimonious legal dispute with KP3 that is
   1
                      pending in state court;
   2
                     Petitioning Creditors’ claims against KP3 could have been brought in other
   3                  venues, and their largest claim is subject to a mandatory arbitration provision;
   4                 Petitioning Creditors’ admitted purpose in bringing this proceeding is to “get
   5                  paid as quickly as possible” on their disputed claims against KP3;

   6                 The Petition is based solely on Petitioning Creditors’ own disputed claims
                      against KP3, and no other outstanding debts have been identified;
   7
                     KP3 had over $60 million in operating expenses in 2017, and 99% of its debt
   8
                      payments were timely;
   9
                     Even before accounting for bona fide disputes, Petitioning Creditors’ claims
  10                  make up less than 7% of KP3’s 2017 operating expenses;
  11                 Petitioning Creditors concede that KP3 is solvent, and that “the dispute in this
                      case does not stem from KP3’s inability to meet its obligations in the near or
  12
                      long term.”
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  14          No court has sustained an involuntary petition on facts such as these. Faced with ever-

  15   mounting evidence undermining their Petition, Petitioning Creditors have shifted to arguing

  16   that they did not act in bad faith in commencing this Petition, but instead, it is KP3 that

  17   submitted itself to this involuntary Petition in bad faith. The argument turns the Bankruptcy

  18   Code on its head. Petitioning Creditors’ conduct is precisely the conduct Section 303(b), (h)

  19   and (i) were intended to prevent. The Petition should be dismissed so KP3 can go back to being

  20   a solvent company that pays its many creditors on a timely basis.

  21   II.    JURISDICTION

  22          This Court has jurisdiction over the case under 28 U.S.C. §§ 157 and 1334 and the

  23   Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges and Authorizing

  24   Bankruptcy Appeals to be Decided by the Ninth Circuit Bankruptcy Appellate Panel, dated

  25   November 27, 2013. This is a core proceeding under 28 U.SC. § 157(b).

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   1   III.    BACKGROUND

   2           A.      Procedural Background.

   3           This case was commenced on the Petition Date, January 2, 2018, at 5:01 p.m. On

   4   January 3, KP3 was served with a summons regarding the Petition. On January 19, the

   5   Petitioning Creditors filed an amended involuntary petition, but a summons has not been

   6   issued. On January 24, KP3 filed its Answer denying the allegations made in the Petition,

   7   asserting affirmative defenses that require dismissal of the Petition and attaching as Exhibit A a

   8   creditor list pursuant to FRBP 1003(b). On January 25, KP3 filed a motion seeking to limit

   9   notice to creditors, which was denied. On February 2, the Court issued an order that established

  10   discovery deadlines and certain initial trial dates. On February 14, KP3 filed an amended

  11   Answer attaching an amended creditor list (the “Creditor List”). On March 2 (the “Joinder

  12   Date”), SDCC joined the Petition. On March 8, the Court held a status conference and ordered

  13   the parties to meet and confer and submit a joint pre-trial statement by March 21. The parties

  14   met and conferred by telephone on March 17, 19, 21, 22 and 23, and filed a joint pre-trial

  15   statement (the “Pretrial Statement”) on March 23, 2018. (Dkt. No. 47.) On March 28, 2018, the

  16   Court entered an order requiring the parties to file trial binders no later than April 3, 2018, to

  17   appear for the pretrial conference on April 6, 2018, and setting trial dates of April 9 and April

  18   11, 2018. (Dkt. No. 49.)

  19           B.      KP3’s Formation And Early Success.

  20           KP3 is a California corporation formed in January of 2017 for the purpose of

  21   purchasing and selling event tickets. (Pretrial Statement ¶ 9) (the facts described in paragraphs

  22   7 through 16 of the Joint Pretrial Statement submitted to the court on March 23, 2018 are

  23   undisputed). KP3 is 100% owned by an Employee Stock Ownership Plan Trust that is managed

  24   by two trustees. (Id. at ¶¶ 9, 14.)

  25           Several of KP3’s current and former principals are members of a single family, the

  26   Pancheri family. Prior to January of 2017: (1) brothers Erik Pancheri (“Erik”)1 and Ryan

  27   Pancheri (“Ryan”), operated REPS, a California corporation operating as an event ticket

  28   1
        The parties are referred to by their first names hereinafter because many share the surname
       Pancheri.
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   1   brokerage; and (2) Robert Karr (“Robert”) and John Pancheri (Erik and Ryan’s cousin,

   2   “John”), operated                                           a corporation also in the business of

   3   selling event tickets. Pretrial Statement at ¶ 11. All of KP3’s current and former principals are

   4   veterans of the event ticket selling industry. Id. As of the Petition Date, KP3 had approximately

   5   fifteen employees operating from three locations in two states. Id. at ¶ 9.

   6          When KP3 was formed, Robert, John, Ryan and Erik were named to its Board of

   7   Directors, Robert was appointed President and Chief Financial Officer, Ryan was appointed

   8   Vice-President, and Erik was appointed Secretary. Later, Ryan assumed the role Chief

   9   Executive Officer. Pretrial Statement at ¶ 12. Erik, Ryan, Robert and John each signed

  10   substantially identical employment agreements with KP3 (the “Employment Agreements”)

  11   pursuant to which KP3 employed each of them on a full time exclusive basis to render and

  12   perform ticket purchase, marketing, pricing, and sales services, and related services.

  13   Declaration of Robert Karr sworn to on April 3, 2018, and filed contemporaneously herewith

  14   (the “Karr Declaration”) Exhs. BN and BO. Among other things, the Employment Agreements

  15   obligated Erik, Ryan, Robert and John to “devote [their] full time, attention and effort to the

  16   performance of” their duties for KP3. (Karr Declaration Exs. BN, BO (Employment

  17   Agreements) at §§ 2.1-2.2).

  18          Tom advised KP3 and its employees on corporate matters, and although not a lawyer,

  19   drafted documents for KP3’s signature, communicated with KP3’s attorney Ernie Ryder, and

  20   negotiated among Robert, John, Erik and Ryan to establish the business. (Pretrial Statement ¶

  21   13 and Deposition of Thomas J. Pancheri sworn to January 17, 2018 (“Tom Depo.”).2

  22          Although the business is just over a year old, unlike most start-ups, KP3 is both solvent

  23   and profitable. (Pretrial Statement at ¶ 9.) In 2017, overall revenues exceeded                  and

  24   expenses, in aggregate, totaled approximately $60 million. Id. KP3’s earnings before interest,

  25   taxes, depreciation and amortization (“EBITDA”) for the year 2017 was approximately

  26   $10,725,184. Id. As of the Petition Date, KP3 had assets in the amount of $19,404,489, no

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       2
        Tom was deposed on January 17, 2018; Erik on February 26; Ryan on February 26; Robert
  28
       on March 9; and Adam Meislik of Force 10 Partners on March 9. Glen Jaffe of SDCC was
       deposed on March 20.
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   1   secured indebtedness, and liabilities of $11,699,724. Id. at ¶15. Other than Petitioning

   2   Creditors’ claims, KP3’s unsecured indebtedness primarily consists of payments due to

   3   ordinary course providers of goods and services, unsecured revolving working capital provided

   4   through credit cards, long and short term financing provided by insiders, and certain

   5   contractual obligations. Id. KP3 pays substantially all of its operating expenses and funded debt

   6   when due, and has or will have funds available to pay future expenses as they mature, or, in the

   7   case of disputed claims, become fixed. (Karr Declaration¶ 8.)

   8          Petitioning Creditors concede that “the dispute in this case does not stem from KP3’s

   9   inability to meet its obligations in the near or long term.” (Pretrial Statement at ¶ 10.)

  10          C.      Petitioning Creditors’ Bad Acts And The State Court Action.

  11          The material circumstances leading to the commencement of this bankruptcy

  12   proceeding concern a dispute between KP3 and Erik and Ryan, who formerly served as

  13   officers, directors and employees of KP3. It was after their terminations, and in response to

  14   developments in the ensuing state court litigation, that Erik and Ryan (along with their father,

  15   Tom) used their control and influence over REPS, BLPT, and SDCC to orchestrate this

  16   Involuntary Proceeding. (See infra, Sec. III.D.)

  17          For the reasons described in this Section III.C, KP3 terminated Ryan and Erik on

  18   October 24, 2017, and filed an action against them in state court (the “State Court Action”).

  19   The State Court Action alleges that Erik and Ryan breached their fiduciary duties and duties of

  20   loyalty to KP3, aided and abetted other KP3 employees in breaching their own duties to the

  21   company, and engaged in unfair competition. See KP3’s Request for Judicial Notice (“RJN”)

  22   at Ex. BX (First Amended Complaint)). On November 10, 2017, counsel for Erik and Ryan,

  23   Charles Hoge, sent KP3’s counsel a letter enclosing a draft cross-complaint asserting five

  24   causes of action against KP3. (See Declaration of Fred Neufeld (“Neufeld Declaration”) at Ex.

  25   J.) In his letter, Mr. Hoge stated his intention to file the cross-complaint once venue in the case

  26   was transferred from Orange County to San Diego County. (Id.)

  27          The State Court Action has progressed little in the five months since it was filed, and is

  28   currently on hold pending a transfer of venue from Orange County Superior Court to San


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   1   Diego Superior Court. As defendants in the State Court Action, Erik and Ryan have exploited

   2   this delay to their advantage, and Erik has repeatedly evaded KP3’s efforts to take their

   3   depositions. (See infra, Sec. V.B(iv).) But even without the additional evidence that discovery

   4   in the State Court Action is sure to uncover, KP3 has developed a powerful case against Erik

   5   and Ryan based on documents pulled from KP3’s own corporate email and instant messaging

   6   systems. As described in the following sections, this evidence confirms that (1) Erik and Ryan

   7   systematically breached their fiduciary obligations and duties of loyalty to KP3, (2) Erik and

   8   Ryan encouraged KP3’s other employees to breach their own duties to KP3, and (3) Erik and

   9   Ryan unfairly competed with KP3 by, among other things, using KP3’s own employees and

  10   other resources to jumpstart a competing venture.

  11          KP3 has and will continue to litigate the State Court Action in state court, and not in

  12   this bankruptcy proceeding. But given the Petitioning Creditors’ assertions that this proceeding

  13   results from nothing more than KP3’s “mean-spirited” efforts to stifle supposedly fair

  14   competition, it is important that the Court see why KP3 had little choice but to terminate Erik

  15   and Ryan, why their competitive acts have been anything but “fair,” and why KP3 is confident

  16   that it will prevail on its claims against them in the State Court Action. Moreover, this

  17   background is critical to understanding the motivations of Erik, Ryan and Tom Pancheri in

  18   using their control and influence over REPS, the BLPT and SDCC to orchestrate the

  19   Involuntary Proceeding.

  20                  i.        Erik and Ryan Secretly Used KP3’s Own Employees To Provide

  21                            Services To Their Competing Company.

  22          The evidence reveals that no later than September 2017, less than eight months after the

  23   founding of KP3, Erik and Ryan were actively building a company to compete against KP3,

  24   and were using KP3’s most valuable resources—its employees—to do so. On September 20,

  25   2017, Erik and Ryan filed articles of incorporation for a company called “Team REPS, Inc.”

  26   (RJN Ex. T.) At his deposition, Ryan confirmed that while he was still employed by KP3,

  27   Team REPS, Inc. was formed as the entity for Erik and Ryan’s new ticket business:

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   5          Within days of registering Team REPS, Inc.3 to do business, and while still serving as
   6   officers, directors and employees of KP3, Erik and Ryan were actively building their new

   7   company into a competitor of KP3. Erik and Ryan have argued, and will no doubt continue to

   8   argue, that their actions constituted “mere preparations” to compete with KP3, and do not give

   9   rise to liability under California law. But the distinction between actual competition and

  10   preparations to compete is irrelevant in this case because, by September 2017, Erik and Ryan

  11   had enlisted many of KP3’s own employees to secretly provide services to their new

  12   company. Erik and Ryan’s use of KP3’s own employees, while those employees were still on

  13   KP3’s payroll, was a misappropriation of corporate resources and an abuse of their positions at

  14   KP3. See, e.g., Huong Que, Inc. v. Luu, 150 Cal. App. 4th 400 (2007) (“The duty of loyalty

  15   embraces several subsidiary obligations, including the duty… ‘not to acquire a material benefit

  16   from a third party in connection with … actions taken … through the agent’s use of the agent’s

  17   position”); Am. Shooting Ctr., Inc. v. Secfor Int’l, 2016 U.S. Dist. LEXIS 40523 (S.D. Cal.

  18   March 28, 2016) (an agent has a duty not to use the principal’s property for the agent’s own

  19   purposes or those of a third party (citing Rest. 3d Agency § 8.05)). Erik and Ryan are also

  20   liable for aiding and abetting these employees in their own violations of the duties they owed

  21   to KP3. The following is a non-exhaustive list of the evidence demonstrating that Erik and

  22   Ryan knowingly used KP3’s employees to provide critical services to their competing ticket

  23   company:

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  27   3
        A subsequent Secretary of State filing dated and signed by Erik on October 10, 2017—while
       he was still with KP3—lists Team REPS’ “type of business or service” as “WHOLESALE
  28
       TICKET BROKER”, and identifies Erik and Ryan as the company’s officers and directors.
       (RJN Ex. AT.)
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        Slack is the internal instant messaging system used at KP3, which KP3 pays for on an annual
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       subscription basis. (Karr Decl. at ¶ 39).

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                                                                                   In fact, the
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       evidence in the State Court Action will show that during the months preceding their
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       termination Erik and Ryan had assembled a shadow team of KP3’s own employees who—
  12
       despite collecting a paycheck from KP3—were busy working for Erik and Ryan’s new ticket
  13
       company.
  14
                      iii.    Erik And Ryan’s Use Of KP3’s Trade Secrets And Proprietary
  15
                              Information.
  16
              Besides using KP3’s employees to build their competing company, the evidence
  17
       developed thus far (and without the benefit of depositions in the State Court Action)
  18
       demonstrates that Erik and Ryan were also using KP3’s trade secrets and proprietary
  19
       information.
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                      iv.     Erik And Ryan Stopped Giving Their Full Time And Efforts To
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                              KP3, And Deferred Buying Opportunities For Their New Company.
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              The evidence further demonstrates that in September and October 2017, Erik and Ryan
  17
       were no longer interested in the success of KP3, and were consciously ignoring their duties to
  18
       the company.
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   6                  v.      Tom Pancheri Aided Erik And Ryan In Their Bad Acts.
   7          Tom Pancheri, who signed the Involuntary Petition on behalf of BLPT, has testified in
   8   this proceeding that he was an “advisor” to KP3 and its four directors.6
   9                                                       Yet the evidence shows that during the time
  10   Tom purported to “advise” KP3, he was aiding Erik and Ryan in their efforts to harm the
  11   company. For example, on September 26, 2017, Tom exchanged text messages with Erik
  12   regarding the “need to order new AmEx cards ASAP under employee names. Would be great if
  13   we could do it tonight.” (Ex. W at 50.)
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  20          The record is replete with other examples of Tom assisting Erik and Ryan with their
  21   new company during the time that (1) Tom was acting as KP3’s “advisor,” and (2) Erik and
  22   Ryan served as KP3’s officers, directors and employees. (See Ex. W at 50-53 (assisting with
  23   tasks for Erik and Ryan’s new company); Ex. V at 53-59 (same). In one telling exchange prior
  24   to their departure from KP3, Tom advises Erik and Ryan to conceal their competing venture
  25   from KP3’s other directors: “I don’t want to bring up that you already have a new corp.” Ex.
  26   DH.
  27

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   1            D.    The Involuntary Petition Was Orchestrated By Erik, Ryan And Tom

   2                  Pancheri.

   3            Erik, Ryan and Tom are not only key figures in the State Court Action, they

   4   orchestrated this involuntary petition through their control and influence over the Petitioning

   5   Creditors. First, REPS’ involvement in the involuntary proceeding occurred at the direction of

   6   Erik, Ryan and Tom, who serve are the sole officers and directors of REPS. (RJN at Ex. AS

   7   (REPS Feb. 6, 2018 Sec. of State Filing)). Erik signed the Petition as REPS’ President. Dkt.

   8   No. 1.

   9

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  11

  12            Erik, Ryan and Tom also directed and coordinated BLPT’s participation in this

  13   involuntary proceeding.

  14

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  16                                                                           Tom Pancheri—despite

  17   testifying that he is not the trustee of BLPT and has no formal relationship with the trust (Tom

  18   Depo. at 14:24-15:14)—signed the Petition on behalf of BLPT (Dkt. No. 1), signed discovery

  19   responses on behalf of BLPT (see Trial Ex. , and appeared for deposition as the self-described

  20   “person most knowledgeable” for BLPT.

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  23            Even the joinder of SDCC was orchestrated by Ryan.

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  13   IV.    PETITIONING CREDITORS CANNOT POSSIBLY MEET THEIR BURDEN
              TO SHOW THAT KP3 IS A COMPANY THAT WAS GENERALLY NOT
  14          PAYING ITS DEBTS AS THEY CAME DUE.
  15          Section 303(h) provides, in relevant part, that “the court shall order relief against the
  16   debtor in an involuntary case under the chapter under which the petition was filed, only if – the
  17   debtor is generally not paying such debtor’s debts as such debts become due unless such debts
  18   are the subject of a bona fide dispute as to liability or amount.” 11 U.S.C. § 303(h).
  19          Petitioning Creditors have the burden of proving that KP3 is a company that was
  20   generally not paying its debts as they came due as of the Petition Date. Laxmi Jewel Inc. v.
  21   C&C Jewelry Mfg., Inc. (In re C&C Jewelry Mfg., Inc.), Nos. CC-08-1190-HMoMk, CC-08-
  22   1267-HMoMk, 2009 Bankr. LEXIS 4517, at *36 (B.A.P. 9th Cir. Apr. 14, 2009); (Pretrial
  23   Statement ¶ 26.) Petitioning Creditors must also prove that any unpaid debts are not “the
  24   subject of a bona fide dispute as to liability or amount.” Liberty Tool & Manufacturing v.
  25   Vortex Fishing Systems, Inc. (In re Vortex Fishing Systems, Inc.), 277 F.3d 1057, 1066 (9th
  26   Cir. 2001); (Pretrial Statement ¶ 26.) KP3’s bona fide dispute with each of the Petitioning
  27   Creditors’ claims is discussed more fully in Section VI, infra. For purposes of this analysis, it
  28   is particularly relevant that, in addition to KP3’s other defenses to enforcement of the debts,


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   1   there are material issues of fact regarding whether two of the three debts had even come due as

   2   of the Petition Date. Specifically, the evidence shows that the original REPS Line of Credit

   3   was superseded by a renewed line of credit that will not come due until April 10, 2018, and

   4   that the TJP Note (as defined below) was not yet in default at the time the Petition was filed.

   5   [(See infra, Sections VI.C. and VI.D.). Of course, if these debts had not yet “become due” as of

   6   the Petition Date, they cannot be used by Petitioning Creditors to carry their burden to show

   7   KP3 was generally not paying its debts under Section 303(h).

   8           In an ordinary case, the Court would apply a totality of the circumstances test to

   9   determine whether petitioning creditors had met their burden. Here that test is not necessary.

  10   Petitioning Creditors already sunk their own case with the Pretrial Statement by falling short of

  11   their evidentiary burden. KP3 respectfully submits that this issue can be determined without

  12   trial. See In re VitaminSpice, 472 B.R. 282, 297 (Bankr. E.D. Pa. 2012) (if the only evidence

  13   on Section 303(h) standard is the failure to pay petitioning creditors’ claims, such evidence

  14   alone usually will be insufficient to prove generally not paying debts as they come due

  15   (collecting cases)); Laxmi, 2009 Bankr. LEXIS 4517, at *37 (affirming summary judgment in

  16   favor of the alleged debtor where there was no genuine issue of material fact as to generally

  17   paying debts as they come due).

  18           A.      Petitioning Creditors Have Already Failed Their Evidentiary Burden

  19           To meet their burden, Petitioning Creditors must do more than assert their own debts;

  20   they must “present evidence of . . . total debt and what amount of that debt is delinquent,” and

  21   prove the issue by preponderance of the evidence, In re VitaminSpice, 472 B.R. 282, 297

  22   (Bankr. E.D. Pa. 2012); see also Liberty Tool v. Vortex Fishing Sys. (In re Vortex Fishing

  23   Sys.), 277 F.3d 1057, 1072 (9th Cir. 2001) (requiring petitioning creditors to make a “general

  24   showing of the debtor’s financial condition and debt structure”); In re A&J Quality Diamonds,

  25   Inc., 377 B.R. 460, 464 (Bankr. S.D.N.Y. 2007) (petition dismissed due to “absence of proof

  26   about the number and amount of other creditors’ claims, and the [d]ebtor’s overall conduct of

  27   its financial affairs”).

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   1          In this proceeding KP3 has produced over 1,000 pages of documents, including all of

   2   its bank statements showing every payment it made in 2017, submitted two expert reports,

   3   responded to interrogatories and requests for production, and appeared for deposition. (Karr

   4   Declaration ¶¶25-28); Declaration of Adam Meislik sworn to on April 3, 2018, and filed

   5   contemporaneously herewith (the “Meislik Declaration”) ¶2. Yet in the Pretrial Statement,

   6   Petitioning Creditors do not make a single genuine allegation about KP3’s financial condition

   7   or payment history outside of their own debts. (See Pretrial Statement ¶¶ 102, 103.) The closest

   8   is a factual allegation that substantially all KP3’s liabilities are owed either to Petitioning

   9   Creditors or insiders (Pretrial Statement ¶ 103), but that allegation is not accompanied by a

  10   legal argument that would establish its relevance (See Pretrial Statement ¶¶ 68-70).

  11          While many of the facts are undisputed in the Pretrial Statement, KP3 also asserts

  12   numerous facts that Petitioning Creditors at least purport to dispute. As evidence of those facts,

  13   KP3 has provided declaration testimony from Robert Karr, and expert declaration testimony

  14   from Adam Meislik based on bank statements, KP3’s check register, credit card statements and

  15   a sample of vendor invoices and financing agreements (the “Data”). The Data consists entirely

  16   of records created in the ordinary course of KP3’s business and records that were assembled by

  17   Robert Karr for the purposes of this case. All Data has been produced to Petitioning Creditors.

  18   Mr. Meislik’s expert report (the “Meislik Report”) provides a summary of the Data. His

  19   declaration also includes some supplemental analysis of the Data intended to support KP3’s

  20   allegations listed as disputed in the Pretrial Statement.

  21          Mr. Meislik is a Partner at Force Ten Partners, LLC (“Force 10”). Meislik Declaration ¶

  22   2. He has over twenty years’ experience in restructuring and corporate finance. Id. at ¶ 3. He

  23   has been a Partner at Force 10 since June 2016. Id. at ¶ 4. In this capacity, he acts in various

  24   roles for clients including financial advisor, investment banker, chief restructuring officer, and

  25   expert witness in complex litigation matters. Id. His clients include companies, bank lenders

  26   and other secured and unsecured creditors, buyers, sellers, bankruptcy counsel and litigators,

  27   all in the context of workouts, insolvency proceedings, fund raising, mergers and acquisitions,

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   1   and litigation. He routinely provides expert testimony concerning transactions, intangible and

   2   intellectual assets, valuations, solvency and reasonably equivalent value disputes. Id.

   3          Force 10 was retained by KP3’s prior counsel, Raines Feldman, LLP, to perform a

   4   solvency analysis (“Solvency Analysis”) of KP3 as of January 5, 2018 (the “Assessment

   5   Date”). (Meislik Decl. at 2.) The Solvency Analysis was filed with the Court in support of the

   6   Motion to Limit Notice (Dkt. and showed that KP3 was “wildly solvent” as of the Petition

   7   Date, a conclusion that the Petitioning Creditors agree with. Pretrial Statement ¶ 9 (“KP3 is

   8   both solvent and profitable.”); Neufeld Decl. Ex. J (November 10, 2017 letter from Erik and

   9   Ryan’s counsel stating “KP3 has approximately                  in the bank and another

  10   in tickets-in-process. Its net profits in 2017 are very substantial.”);

  11

  12

  13          At counsel’s request, Force 10 performed a supplemental analysis of whether KP3 was

  14   generally paying its debts as they came due as of the Petition Date. Id. On March 7, 2018, KP3

  15   provided Force 10’s supplemental analysis (the “Supplemental Report”) to Petitioning

  16   Creditors, Karr Declaration ¶27, and Petitioning Creditors deposed Mr. Meislik on Friday,

  17   March 9, 2018, for just over thirty minutes. While Petitioning Creditors may uncover an

  18   additional missed invoice, or dispute one tenth of one percentage point, crucially, they do not

  19   dispute the headline numbers: KP3 debt payments in 2017 (including allegedly missed and late

  20   payments) totaled $66,743,622 in 2017, and the Petitioning Creditors’ claims would comprise,

  21   at most, approximately 6.8% of that total. (Pretrial Statement ¶ 76.7) With the key facts

  22   undisputed, any quibbles Petitioning Creditors might have with the particulars of the Meislik

  23   Report cannot possibly be material.

  24          The unrefuted facts show, and the Petitioning Creditor have admitted, that, except for

  25   their own claims, Petitioning Creditors (i) “have not identified any facts that arose before the

  26

  27   7
         The Meislik Report shows that if all of Petitioning Creditors’ claims were due and
       undisputed, their claims would make up 6.6% of total debt of $69,743,622. See Meislik Decl.
  28
       ¶31. Petitioning Creditors disagree. KP3 believes the difference is not material, and has
       adopted Petitioning Creditors’ calculation. (See Pretrial Statement ¶76.)
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   1   Petition Date that indicated that KP3 might be unable to pay its debts as they came due”

   2   (Pretrial Statement ¶ 87) or “alleged any problem with the nature of KP3’s conduct of its

   3   financial affairs” (Pretrial Statement ¶ 88).

   4          B.      KP3 Is Generally Paying Its Debts As They Come Due Under The Totality

   5                  Of The Circumstances Test

   6          The Ninth Circuit’s totality of the circumstances test requires that Petitioning Creditors

   7   make “a more general showing of the debtor’s financial condition and debt structure than

   8   merely establishing the existence of a few unpaid debts.” Liberty Tool v. Vortex Fishing Sys.

   9   (In re Vortex Fishing Sys.), 277 F.3d 1057, 1072 (9th Cir. 2001); In re Bishop, Baldwin,

  10   Rewald, Dillingham & Wong, Inc., 779 F.2d 471, 475 (9th Cir. 1985); Pretrial Statement ¶ 62

  11   (undisputed law). This analysis leads to the inescapable conclusion that KP3 is generally

  12   paying its debts as they come due.

  13                  i.           Legal Standard For Totality Of The Circumstances Test

  14          In applying the totality of the circumstances analysis, courts in the Ninth Circuit are to

  15   consider “the number of debts unpaid each month to those paid, the amount of the delinquency,

  16   the materiality of the non-payment, and the nature of the debtor’s conduct of its financial

  17   affairs.” Vortex, 277 F.3d at 1072; Pretrial Statement ¶ 62. “[I]t is not possible to lay down

  18   guidelines that fit all cases . . . . It is intended that the court consider both the number and

  19   amount [of debts] in determining whether the inability or failure is general.” Hujazi v.

  20   Recoverex Corp. (In re Hujazi), 2017 Bankr. LEXIS 1963, *26-27 (B.A.P. 9th Cir. July 14,

  21   2017) (citing 2 Collier on Bankruptcy ¶ 303.31 (16th ed.) (internal citations omitted)).

  22          The    test     is    not   intended   to   apply   rigidly   or   mathematically,   because

  23   “Congress intended to provide a flexibility which is not reducible to a simplistic formula.” In

  24   re Bishop, Baldwin, Rewald, Dillingham & Wong, Inc., 779 F.2d 471, 475 (9th Cir. 1985). The

  25   legislative history of section 303(h) points to insistence by Congress on “generality of default.”

  26   In re B.D. International Corp., 701 F.2d 1071, 1076 (2nd Cir. 1983).

  27          The “generally not paying” test is to be applied as of the date of the filing of the

  28   involuntary petition. In re Bishop, Baldwin, Rewald, Dillingham & Wong, Inc., 779 F.2d 471,


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   1   475 (9th Cir. 1985); Ash v. Moldo (In re Thomas), No. CC-03-1052-PMaPa, 2006 Bankr.

   2   LEXIS 4855, at *21 (B.A.P. 9th Cir. July 25, 2006) (Vortex requires a court to consider

   3   “evidence of debtor’s payment history of the debts, how much payments were, when they were

   4   due, whether they were being paid and, if not, for how long.”); In re St. Marie Dev. Corp. of

   5   Mont. Inc., 334 B.R. 663, 671 (Bankr. D. Mont. 2005). Because the test is applied as of the

   6   date of the filing of the petition, courts will not consider evidence of financial difficulties after

   7   the filing of the petition, In re Better Care, Ltd., 97 B.R. 405, 408 (Bankr. N.D. Ill. 1989), and

   8   post-petition payments are generally excluded as well, In re Win-Sum Sports, Ing., 14 B.R.

   9   389, 392 (Bankr. D. Conn. 1981) (“post-petition payments ordinarily indicate a last ditch effort

  10   . . .to avoid bankruptcy proceedings.”)

  11          As articulated by the Ninth Circuit in Vortex, the totality of the circumstances test

  12   necessarily requires consideration of at least multiple months of the alleged debtor’s payment

  13   history (“the number of debts unpaid each month to those paid”) but, consistent with the

  14   flexible nature of the test, courts have examined a period appropriate to the circumstances of a

  15   particular case. The period is chosen based on the purpose of involuntary bankruptcy: to

  16   “protect all creditors from the loss occasioned by a company failing completely.” In re All

  17   Media Props., Inc., 5 B.R. 126, 148 (Bankr. S.D. Tex. 1980), aff’d 646 F.2d 193 (5th Cir.

  18   1981) (debtor had spent several months paying only its most pressing bills). So, whereas an

  19   involuntary bankruptcy was appropriate after only eight days of investors demanding their

  20   money after the debtor had engaged in a criminal Ponzi scheme (In re Bishop, Baldwin,

  21   Rewald, Dillingham & Wong, Inc., 779 F.2d 471, 475 (9th Cir. 1985)), an involuntary petition

  22   was denied where the alleged debtor company demonstrated five years of progress in repaying

  23   old debts. See Vortex, 277 F.3d at 1062. One year is a particularly common measure. See e.g.

  24   In re Food Gallery, 222 B.R. 480, 487 (Bankr. W.D. Pa. 1998) (looking at debtor’s loans and

  25   payments to trade creditors over the course of a year); see also In re Apollo Health St., Inc.,

  26   No. 11-22970 (NLW), 2011 Bankr. LEXIS 1838, at *21 (Bankr. D.N.J. May 18, 2011) and In

  27   re ELRS Loss Mitigation, LLC, 325 B.R. 604, 632 (Bankr. N.D. Okla. 2005).

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   1          Courts will also consider how long unpaid debts have been outstanding. In re Reed, 11

   2   B.R. 755, 760 (Bankr. S.D. W.Va. 1981) (“A default of short duration should be viewed

   3   differently than one which is longer.”). Courts typically only find an alleged debtor was

   4   generally not paying most of its debts after delinquencies of many months. See e.g., Focus

   5   Media, Inc. v. NBC (In re Focus Media, Inc.), 378 F.3d 916, 929 (9th Cir. 2004) (80% of debts

   6   had been over 90 days old for several months); In re All Media Props., 5 B.R. at 148 (debtor

   7   “did not even pay the interest on the smallest of the notes even though it had been due for over

   8   two years in some instances.”). Petitions have been denied based on shorter durations, even

   9   lasting several months. See Laxmi Jewel Inc. v. C&C Jewelry Mfg., Inc. (In re C&C Jewelry

  10   Mfg., Inc.), Nos. CC-08-1190-HMoMk, CC-08-1267-HMoMk, 2009 Bankr. LEXIS 4517, at

  11   *36 (B.A.P. 9th Cir. Apr. 14, 2009) (47% of debt over 120 days past due does not demonstrate

  12   debtor was generally not paying its debts as they came due); In re Leek, 52 B.R. 311, 314

  13   (Bankr. M.D. Fl. 1985) (petition dismissed where 95% of invoices in number and 97% of

  14   invoices in amount paid within 60 days, excluding disputed claims).

  15          In fact, where a debt is outstanding for “a very short time,” courts may not even

  16   consider it past due at all, see In re Better Care, Ltd., 97 B.R. 405, 409 (Bankr. N.D. Ill. 1989),

  17   particularly if “no demand is made on the debtor [and] the debtor is not notified of or billed for

  18   the debt.” Boston Beverage Corp. v. Turner, 81 B.R. 738, 746 (D. Mass. 1987).

  19          Perhaps the most strongly predictive factor is the alleged debtor’s ability to pay. See

  20   e.g. Focus Media, Inc. v. NBC (In re Focus Media, Inc.), 378 F.3d 916, 929 (9th Cir. 2004)

  21   (“no plan or ability to pay debts”); Hujazi v. Recoverex Corp. (In re Hujazi), 2017 Bankr.

  22   LEXIS 1963, *26-27 (B.A.P. 9th Cir. July 14, 2017) (petition granted when individual debtor

  23   had almost $2 million in claims and no ability or plan to pay); Morabito v. JH, Inc. (In re

  24   Morabito), 2016 Bankr. LEXIS 2207, at *22-29 (petition granted where individual debtor had

  25   $13 million in claims and no ability or plan to pay); Marciano v. Fahs (In re Marciano), 459

  26   B.R. 27, 52 (BAP 9th Cir. 2011) (petition granted where individual debtor had hundreds of

  27   millions in claims and no ability to pay); cf. Laxmi Jewel Inc. v. C&C Jewelry Mfg., Inc. (In re

  28   C&C Jewelry Mfg., Inc.), Nos. CC-08-1190-HMoMk, CC-08-1267-HMoMk, 2009 Bankr.


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   1   LEXIS 4517, at *37 (B.A.P. 9th Cir. Apr. 14, 2009) (dismissal of petition affirmed where

   2   debtor was an operating company and there was “no evidence demonstrating” that company

   3   “cannot meet its payment obligations”). Courts may excuse missed payments if they have

   4   “nothing to do with inability to pay the obligations.” In re Apollo Health St., Inc., No. 11-

   5   22970 (NLW), 2011 Bankr. LEXIS 1838, at *21 (Bankr. D.N.J. May 18, 2011).

   6          Closely related are the alleged debtor’s solvency and profitability. Involuntary petitions

   7   against solvent debtors are scrutinized closely. See In re Goldsmith, 30 B.R. 956, 963-64

   8   (Bankr. E.D.N.Y. 1983) (concerns about creditor motivations “are particularly compelling in a

   9   case with a clearly solvent debtor”); see also Laxmi, 2009 Bankr. LEXIS 4517, at *37

  10   (dismissing involuntary petition in which alleged debtor had more assets than liabilities).

  11          When a debtor is not operating, large debts loom particularly large. See, e.g., In re

  12   Bishop, Baldwin, Rewald, Dillingham & Wong, Inc., 779 F.2d 471, 475 (9th Cir. 1985)

  13   (petition granted when debtor not operating with no ability or plan to pay); Concrete Pumping

  14   Serv., Inc. v. King Constr. Co., 943 F.2d 627, 629 (6th Cir. 1991) (alleged debtor was “an

  15   empty husk,” its owner having extracted assets via undocumented loans); In re Euro-American

  16   Lodging Corp., 357 B.R. 700, 713 (Bankr. S.D.N.Y. 2007) (petition granted where petitioning

  17   creditor held 90% of debts, alleged debtor had been in default for 15 years, never had a bank

  18   account and never paid a creditor).

  19                  ii.     By Number, Amount And Materiality, KP3’s Alleged Delinquencies

  20                          Are Far from General

  21          The first three factors of the totality of the circumstances test – “the number of debts

  22   unpaid each month to those paid, the amount of the delinquency, [and] the materiality of the

  23   non-payment” – all weigh is favor of dismissing the Petition, even assuming Petitioning

  24   Creditors’ allegations about KP3’s delinquencies are true. Meislik Decl. ¶¶14-28.

  25          Though the factors favor dismissal of the Petition when viewed over any time horizon,

  26   KP3 submits that its alleged debts to the Pancheri Creditors should be compared against KP3’s

  27   total timely debt payments since January 2017. The agreements with the Pancheri Creditors

  28   that underlie their claims were all part of the initial organization and capitalization of KP3. See


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   1   (Trial Exhibit AM (REPS Rog. Response) at No. 4 (REPS LOC and TJP Note were extended

   2   to KP3 “in connection with the formation of the business in January 2017.”); Trial Exhibit AL

   3   (BLPT Rog. Response) at No. 3 (TJP Loan made “relative to the formation of KP3”).) The

   4   alleged debts are best viewed in the context of KP3’s full one year of corporate existence. A

   5   time horizon of the year comports with the case law, and Petitioning Creditors do not allege

   6   that there have been any intervening events that might render the comparison inaccurate. See In

   7   re ELRS Loss Mitigation, LLC, 325 B.R. 604, 631 (Bankr. N.D. Okla. 2005) (alleged debtor

   8   “paid over 200 creditors a total in excess of $ 800,000 in the year prior to the filing of the

   9   petition.”)

  10           Number of Alleged Delinquencies. The Meislik Report shows that KP3 made 1,047

  11   timely debt payments in 2017, against 11 payments missed, late or unpaid, for a timely

  12   payment percentage of more than 99% by amount.8 Meislik Report, 5. As of the Petition Date,

  13   KP3 had a total of six payments outstanding. Meislik Decl. ¶ 22. Looking at each month it is
  14   undisputed that KP3 had no material late or missed debt payments in January, February,
  15   March, April, May, June, July, August, September or October of 2017. Pretrial Statement ¶¶
  16   79-80. Petitioning Creditors contend that in November, KP3 did not make two payments (on
  17   account of the Purchase Agreement and the REPS LOC), but KP3 did make timely payments
  18   to 38 different creditors. Meislik Decl. ¶24. Petitioning Creditors contend that between
  19   December 1, 2017 and the Petition Date KP3 missed four payments (REPS LOC, TJP Note,
  20   two SDCC invoices); yet KP3 made timely payments to 32 different creditors in December.

  21   Meislik Decl. ¶25. So in the final two months of 2017, KP3 did not make six payments to

  22   three creditors, but made timely payments to 70 creditors. Petitioning Creditors assert that KP3

  23   missed only two scheduled payments to each of SDCC and REPS prior to the Petition Date.

  24   Thus, there were precisely zero creditors to whom KP3 was “regularly missing payments” as of

  25   8
         The Meislik Report is based on an initial production of documents and KP3’s check register,
  26   as described more fully in the Meislik Decl. at ¶7. On March 23, 2018, KP3 made a
       supplemental production. Mr. Meislik reviewed the supplemental production and concluded
  27   that they did not materially alter the analysis or conclusions in the Meislik Report. The analysis
       contained herein is based on the Meislik Report, for consistency. However, the Meislik Decl.
  28
       set forth Force 10’s supplemental analysis based on the supplemental production, where
       appropriate.
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   1   the Petition Date. See e.g. In re All Media Props., Inc., 5 B.R. 126, 148 (Bankr. S.D. Tex.

   2   1980), aff’d 646 F.2d 193 (5th Cir. 1981) (petition granted where debtor had spent several

   3   months paying only its most pressing bills).

   4          Amount of Alleged Delinquencies. Petitioning Creditors allege that KP3 was

   5   delinquent by $4.5 million as of the Petition Date. See Pretrial Statement ¶ 125. But, it is

   6   undisputed that KP3’s debt payments in 2017 (including allegedly missed and late payments)

   7   totaled $66,743,622 in 2017 and that even if all of Petitioning Creditors’ claims were

   8   undisputed and matured, their claims would comprise at most approximately 6.8% of that total.

   9   Pretrial Statement ¶76. The percentage would be even smaller if the Court finds that the

  10   Pancheri Creditors’ claims were either unmatured or subject to a bona fide dispute. If the

  11   $1,000,000 TJP Note claim asserted by BLPT was matured and undisputed on the Petition

  12   Date, but the REPS Purchase Agreement and LOC claims were excluded, the TJP Note claim

  13   would comprise 1.5% of KP3’s total 2017 debt of $65,595,092. Meislik Report, 6. If the

  14   $2,139,530 Purchase Agreement claim was matured and undisputed, but the TJP Note claim

  15   and the REPS LOC claims were excluded, the Purchase Agreement claim would comprise

  16   3.2% of KP3’s total 2017 debt of $66,734,622. Id. If the REPS LOC claim was matured and

  17   undisputed, but the TJP Note claim and the REPS Purchase Agreement claim were excluded,

  18   the $1,450,000 debt would make up 2.2% of KP3’s total 2017 debt of $66,045,092. Meislik

  19   Report, 6.

  20          Looking by month, it is undisputed that KP3 had no material delinquencies in January,

  21   February, March, April, May, June, July, August, September or October of 2017. Pretrial

  22   Statement ¶¶ 79-80. In November, KP3 did not make payments totaling approximately $2.2

  23   million (related to the Purchase Agreement) but made payments totaling approximately $7.3

  24   million to other creditors. Meislik Decl. ¶ 27. KP3 missed payments totaling approximately

  25   $2.5 million between December 1 and the Petition Date, but made payments in December

  26   totaling approximately $8.5 million. Meislik Decl. ¶ 28.

  27          Materiality of Non-Payment. As of the Petition Date, an interest payment on the

  28   REPS LOC was 84 days past due, the payment on the Purchase Agreement was approximately


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   1   30 days past due, and the TJP Note was at most two (non-business) days past due. Each falls

   2   far short of the durations of delinquency that have supported a finding that an alleged debtor

   3   was generally not paying its debts as they come due. See e.g. In re Hujazi, Case No. 13-30477,

   4   2015 Bankr. Lexis 4560, at *24 (Bankr. N.D. Cal. November 30, 2015) (where alleged debtor

   5   paid interest on obligation but erratically, and failed to make balloon payment that was due on

   6   petition date, court finds “failure to make balloon payment due on [petition date] cannot be

   7   counted against her because of filing of the involuntary petition).

   8          Also, for each alleged delinquency, KP3 has a reason for non-payment that has

   9   “nothing to do with the inability to pay.” See e.g. In re Apollo Health St., Inc., No. 11-22970

  10   (NLW), 2011 Bankr. LEXIS 1838, at *21 (Bankr. D.N.J. May 18, 2011) (there were credible

  11   “reasons a claimant might not be paid timely”); Pretrial Statement ¶ 79 (undisputed that “none

  12   of KP3’s late payments can be attributed to a lack of liquidity or financial wherewithal”). For

  13   the TJP Note, KP3 did not receive proper notice of assignment by the Petition Date. KP3 and

  14           elected to delay the interest payment on the            LOC because it came due during

  15   the tumultuous period surrounding Erik and Ryan’s departure from KP3. (Karr Declaration

  16   ¶22.) The “non-payment of SDCC’s claim timely was due to the cancellation of a credit card in

  17   Ryan’s name after his employment was terminated by KP3.” (Pretrial Statement ¶ 77

  18   (undisputed fact)). For all its alleged debts to Pancheri Creditors, KP3’s conflict with the

  19   Pancheri Creditors is a reason for non-payment that had nothing to do with inability to pay—

  20   even if the Court finds that those reasons were not bona fide for purposes of section 303(b).

  21                  iii.    KP3’s Exceptional Payment History

  22          KP3’s delinquencies—while negligible—tell only part of the story, and must be

  23   measured against KP3’s exceptional payment history and financial condition.

  24          It is undisputed that “

  25

  26

  27

  28   (Pretrial Statement ¶ 78; Karr Declaration ¶ 10; Meislik Decl. ¶ 18.)


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   2

   3                  iv.     As Petitioning Creditors Well Know, KP3 Is a Thriving Company

   4          Beyond looking at debt payment history, courts look at “the nature of the debtor’s

   5   conduct of its financial affairs,” including the alleged debtor’s overall financial health, its

   6   profitability, and its ability to pay creditors. See Vortex, 277 F.3d at 1072. Petitioning Creditors

   7   openly acknowledge that KP3 is generating “extraordinary profits.” Pretrial Statement ¶ 21. It

   8   is also undisputed that:

   9             “As of the Petition Date and at all relevant times, KP3 was solvent, operating and

  10              generating a profit.” Pretrial Statement ¶ 85.

  11             “As of the Petition Date, KP3 had assets in the amount of $19,404,489, no secured

  12              indebtedness, and liabilities of $11,699,724” Pretrial Statement ¶ 15.

  13             “KP3 has sufficient cash on hand as of the Petition Date to pay all of its outstanding

  14              debts, including the debts of Petitioning Creditors,” Pretrial Statement ¶ 75, as they

  15              come due.

  16             “No facts have been alleged that suggest any threat to KP3’s continued ability to

  17              satisfy all of its debts, current or future.” Pretrial Statement ¶ 85.

  18             “Petitioning Creditors’ primary basis for alleging that KP3 was not paying its debts

  19              as they come due between October 23, 2017 and the Petition Date was KP3’s non-

  20              payment of the claims of Petitioning Creditors.” Pretrial Statement ¶ 86.

  21             “Except for KP3’s non-payment of their claims, Petitioning Creditors have not

  22              identified any facts that arose before the Petition Date that indicated that KP3 might

  23              be unable to pay its debts as they came due.” Pretrial Statement ¶ 87.

  24             “Except for KP3’s non-payment of their claims, Petitioning Creditors have not

  25              alleged any problem with the nature of KP3’s conduct of its financial affairs.”

  26              Pretrial Statement ¶ 88.

  27          The undisputed facts conclusively establish “the nature of the debtor’s conduct of its

  28   financial affairs” and weigh heavily in favor of dismissing the Petition. Vortex, 277 F.3d at


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   1   1072. Petitioning Creditors are attempting to force a thriving company into bankruptcy

   2   reorganization or liquidation solely to advance their individual grievances.

   3          C.      Petitioning Creditors Cannot Satisfy Their Burden Under 303(h)

   4          Against the overwhelming evidence that KP3 is generally paying its debts under the

   5   totality of the circumstances test, Petitioning Creditors argue that (i) “there is precedent for

   6   allowing an involuntary petition based on non-payment of a few large debts” (Pretrial

   7   Statement ¶ 65); (ii) that “KP3’s outstanding debts to Petitioning Creditors should be compared

   8   to KP3’s average monthly operating expenses” (Pretrial Statement ¶ 63); and (iii) “that bad

   9   faith in not paying the large debts owed to Petitioning Creditors amounts to circumstances that

  10   justify involuntary relief.” (Pretrial Statement ¶ 64). Viewed in light of the case law discussed

  11   above, those first two arguments can be dispensed with in short order. The third is without

  12   merit but requires more of an explanation.

  13                  i.        Petitioning Creditors’ “Large Debts” Argument

  14          Petitioning Creditors are correct that a debtor could be generally not paying its debts

  15   based on non-payment of a few large debts, even if it is remaining current on small payments

  16   to recurring creditors. They rely on In re Bowers, 16 B.R. 298 (Bankr. D. Conn. 1981) and In

  17   re Int’l Teldata Corp., 12 B.R. 879, 883 (Bankr. D. Nev. July 24, 1981). They have set a high

  18   bar for themselves on that factor: In Bowers and International Teldata, the alleged debtors had

  19   not, and could not, pay at least 90% and 82% of their debts, respectively. See also In re

  20   Garland Coal & Mining Co., 67 B.R. 514, 522 (Bankr. W.D. Ark. 1986) (not paying “well

  21   over fifty percent of the outstanding liabilities”). Here, KP3 generally has been paying more

  22   than 95% of its debts, both in the number of debts and dollar amount of debts, for all of its one

  23   year of corporate existence.

  24          Moreover, in substantially all the cases where relief is entered on the basis of a single

  25   large debt, the debtor is an individual, or a non-operating entity, the petitioning creditor is a

  26   judgment creditor or a creditor who has held a claim for many years, and the alleged debtor has

  27   no ability to pay the judgement debt. See e.g., Morabito v. JH, Inc. (In re Morabito), No. NV-

  28   14-1593-FBD, 2016 Bankr. LEXIS 2207, at *9 (B.A.P. 9th Cir. June 6, 2016) (petition granted


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   1   where alleged debtor was an individual, creditor held a liquidated $13 million judgment that

   2   represented 98% of the claims against the debtor, and debtor had no ability to satisfy the

   3   judgment); In re Euro-American Lodging Corp., 357 B.R. 700, 713 (Bankr. S.D.N.Y. 2007)

   4   (petition granted where petitioning creditor held 90% of debts, alleged debtor had been in

   5   default for 15 years, never had a bank account and never paid a creditor); Focus Media, Inc. v.

   6   NBC (In re Focus Media, Inc.), 378 F.3d 916, 929 (9th Cir. 2004) (petition granted where

   7   alleged debtor had millions of dollars in unpaid bills that were more than 120 days past due,

   8   debtor had no plans or ability to pay them, and there was no evidence at all that debtor was

   9   making any efforts to pay them); In re Garland Coal & Mining Co., 67 B.R. 514, 522 (Bankr.

  10   W.D. Ark. 1986) (petition granted where alleged debtor company was no longer operating

  11   most of its coal mining business, owed nearly $2 million to its employee pension fund, and

  12   generally was not paying “well over fifty percent of the outstanding liabilities”); In re Huggins,

  13   380 B.R. 75, 81 (Bankr. M.D. Fla. 2007) (petition granted where the alleged debtor, an

  14   individual, had been found to be a key player in a Ponzi scheme and a judgment had been

  15   entered against the debtor for more than $7.9 million, and the debtor admitted he had no ability

  16   to make any payments on the debt; the court held that special circumstances also applied

  17   because the debtor transferred property to his wife soon after entry of the judgment, using

  18   fraud, artifice and sham to thwart collection of the debt); In re Int’l Teldata Corp., 12 B.R. 879,

  19   883 (Bankr. D. Nev. 1981) (petition granted where alleged debtor was not paying 82% of its

  20   outstanding obligations, and there was no evidence of the debtor being able to pay those claims

  21   in the foreseeable future); In re Molen Drilling Co., 68 B.R. 840 (Bankr. D. Mont. 1987)

  22   (petition granted where alleged debtor, an oil drilling company, had stacked its rigs and shut

  23   down operations due to a slowdown in the industry, and was therefore unable to pay the $3.5

  24   million it owed to Norwest Bank, and was only able to pay $13,000 in the aggregate to its

  25   small creditors during the three months prior to the petition); In re Tikijian, 76 B.R. 304

  26   (Bankr. S.D.N.Y. 1987) (petition granted where the alleged debtor, an individual, owed

  27   millions of dollars in debts to a group of banks based upon personal guaranties of his

  28   company’s debts, his company already being in bankruptcy, and the debtor having admitted to


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   1   gambling at the rate of more than $500,000 per month); In re Paper I Partners, 283 B.R.

   2   661(Bankr. S.D.N.Y. 2002) (petition granted where the matured and unpaid debt of the alleged

   3   debtor equaled 73% of the total debt, and after failed tender offer the debtor was unable to pay

   4   the debts). These cases are all inapposite to KP3’s case, where KP3 is an operating, solvent

   5   company that has sufficient cash on hand to pay Petitioning Creditors’ claims.

   6          Against this backdrop, Petitioning Creditors are only left to argue that that bad faith in

   7   not paying the large debts owed to Petitioning Creditors amounts to circumstances that justify

   8   involuntary relief. But “special circumstances” is a judicial gloss on judicial gloss, that, if

   9   applied in this case, would run afoul of the clear and unambiguous language of the statute.

  10   Petitioning Creditors’ case cannot stand.

  11                  ii.     Petitioning Creditors’ Comparison Of Debt To One Month’s

  12                          Operating Costs

  13          Petitioning Creditors’ propose to compare their alleged debts to a single month of

  14   KP3’s operating expenses. Pretrial Statement ¶ 63. There is nothing wrong with that

  15   comparison in theory. The number of debts unpaid each month compared to the debts paid are

  16   both factors in the totality of the circumstances test. Vortex, 277 F.3d at 1072. That said,

  17   Petitioning Creditors are presumably suggesting that the court should simply take a single

  18   month’s operating expenses and divide it by $4.5 million to generate a percentage. Their

  19   proposed comparison is self-evidently designed to make their debt loom as large as possible,

  20   comparing a monthly measure against funded debt intended to be repaid over a longer duration.

  21   Moreover, even if the Petitioning Creditors could turn up a case in which such a comparison

  22   was employed, it would still only be one factor in the totality of the circumstances test. And

  23   using it would make no sense here, because KP3 does not need the proceeds of operations to

  24   repay Petitioning Creditors—it has sufficient cash on reserve. (Pretrial Statement ¶ 16; Karr

  25   Declaration Ex. CG through CT.)

  26          Yet even in this best-case scenario for Petitioning Creditors their alleged debts as of the

  27   Petition Date are still less than KP3’s average monthly operating expenses—which they

  28   concede the company timely pays. (Pretrial Statement ¶¶78-88.) In November 2017, KP3 paid


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   1   $7.3 million in debts and in December 2017, KP3 paid $8.5 million in debts, in each case

   2   almost double the aggregate amount of the Petitioning Creditors’ claims. Thus, even under

   3   their own slanted standard, Petitioning Creditors cannot prevail.

   4          Petitioning Creditors alternatively propose that the Court should compare their debt to

   5   KP3’s outstanding obligations on a single day, the Petition Date, and exclude obligations to

   6   insiders, Pretrial Statement ¶103, presumably relying on the oft-cited proposition that the

   7   totality of the circumstances are to be evaluated as of the Petition Date. See, e.g., In re Bishop,

   8   Baldwin, Rewald, Dillingham & Wong, Inc., 779 F.2d 471, 475 (9th Cir. 1985).

   9          They may argue that KP3 had approximately $12 million in outstanding obligations on

  10   the Petition Date, of which approximately $10 million was funded debt to insiders, including

  11   $3.5 million to REPS and                                    $1 million was owed to BLPT, and

  12   approximately              was owed on credit card obligations. Assuming for purposes of

  13   argument that these figures are accurate (and they are not), Petitioning Creditors would

  14   presumably have the Court compare their $4.5 against the purported $5 million owed to REPS

  15   and the “non-insiders.” By this metric, Petitioning Creditors’ claims make up virtually 100% of

  16   KP3’s obligations, but the metric has no basis in reality, let alone the totality of the

  17   circumstances test.

  18          The totality of the circumstances test does not exclude insiders. See Vortex, 277 F.3d at

  19   1072. Courts have credited alleged debtors for being current on loans from insiders. In re

  20   Brooklyn Res. Recovery, 216 B.R. 470, 485 (Bankr. E.D.N.Y. 1997) (being current on loans

  21   from shareholders weighed in favor of alleged debtor). On the other hand, an inability to make

  22   payments to insiders can lead to a finding that a company is generally not paying its debts,

  23   even if insiders have agreed to defer payment. See In re All Media Props., Inc., 5 B.R. 126,

  24   147-48 (Bankr. S.D. Tex. 1980) (“The fact that a debtor is not paying ‘insiders’ who happen to

  25   be creditors, and that those ‘insiders’ are not pressing for payment does not negate the fact that

  26   the debtor was not paying its debts as they became due”); In re Int’l Teldata Corp., 12 B.R.

  27   879, 882 (Bankr. D. Nev. July 24, 1981) (alleged debtor being unable to make payments to

  28   insiders weighs in favor of petitioning creditor). Here, unlike in International Teldata and All


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   1   Media, KP3’s insiders are not keeping it afloat by deferring payments. KP3 has remained

   2   current on all of its debts to its insiders, excepting one late interest payment, and there is no

   3   threat to KP3’s continued ability to satisfy its debts, including debts to insiders. See Pretrial

   4   Statement ¶ 85. KP3’s demonstrated ability to remain current on insider loans weighs in its

   5   favor of showing that it is a company that generally pays its debts as they come due.

   6          The totality of circumstances test also cannot be “reduc[ed] to a simplistic formula” that

   7   only measures KP3’s debts as of the Petition Date. See In re Bishop, Baldwin, 779 F.2d at 475.

   8   The most basic formulation of the Vortex test requires an evaluation of how many debts the

   9   debtor has paid each month against how many debts the debtor has not paid. See Vortex, 277

  10   F.3d at 1072. Petitioning Creditor’s formula would ignore KP3’s already paid operating
  11   expenses because they were no longer due on the Petition Date, ignore all of KP3’s funded
  12   debt because it happened to be provided by insiders, and include only the outstanding operating
  13   expenses due on one particular day chosen by Petitioning Creditors—which happens to be the
  14   first business day of a new year, and the first possible day on which the TJP Note matured, and
  15   the only remaining debt is the debt to Petitioning Creditors on account of their disputed claims.
  16   Petitioning Creditors seek to isolate one particular metric that obscures more than it reveals—
  17   an approach not supported by case law. See e.g. In re ELRS Loss Mitigation, LLC, 325 B.R.
  18   604, 632 (Bankr. N.D. Okla. 2005) (under the totality of the circumstances test, petition
  19   dismissed because in the year prior to the filing of the petition alleged debtor paid 200 creditors
  20   in excess of $800,000, compared to $80,000 in unpaid claims on the petition date,

  21   approximately $70,000 of which were disputed, the unpaid remaining claims were less than

  22   thirty days past due, and “[g]iven the number of creditors which [the alleged debtor] has paid

  23   on a regular basis and the amount they have been paid,” the alleged debtor was generally

  24   paying its debts.)

  25          In In re Apollo Health St., Inc., Case No. 11-22970, 2011 Bankr. LEXIS 1838 (Bankr.

  26   D. NJ. May 18, 2011), the facts are very similar to the instant matter. There, the petitioning

  27   creditors introduced testimony that their claims of approximately $4 million comprised 75% of

  28   the third-party accounts payable on the Petition Date. The alleged debtor moved to dismiss on


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   1   the grounds that it was generally paying its debts as they come due, and the parties deferred

   2   consideration of whether the petitioning creditors’ claims were disputed. The court assumed for

   3   purposes of its analysis that the claims were undisputed. Id. at *18. Alleged debtors provided

   4   testimony of their CFO and a financial expert. Unlike this case, petitioning creditors submitted

   5   a counter-expert. Petitioning creditors argued that their claims constituted 75% of third-party

   6   payables on the petition date, and that the claims may be over 120 days’ old. The court

   7   dismissed the petition. First, the court noted that the alleged debtor was an operating company,

   8   and “the filing of an involuntary petition is an extreme remedy with serious consequences to

   9   the alleged debtor, such as loss of credit standing, inability to transfer assets and carry on

  10   business affairs, and public embarrassment.” Id. at *16 (citing In re Reid, 773 F.2d 945, 946

  11   (7th Cir. 1985)). Applying the totality of the circumstances test (id. at *19), the court first

  12   evaluated the number of paid and unpaid claims and concluded that the debtor was paying
  13   almost all of its creditors on a timely basis and had done so for some time (id. at *20), and the
  14   business transacts with hundreds of vendors and other third parties annually. Id. With regard to
  15   the materiality of the non-payments, the court compared the petitioning creditors’ $4 million of
  16   unpaid claims, against $70 million in annual operating expenses that were being paid, which
  17   readily compelled the conclusion that the non-payments were not material. The court further
  18   noted the reasons the company might not have paid claims had nothing to do with inability to
  19   pay, id.at *21, the company generates                in cash monthly, had a fully available line
  20   of credit in the amount of                 no litigation that amounts to collection activity, and

  21   not in breach of any bank loan covenants. Id. at 23; see also In re St. Marie Dev. Corp. of

  22   Mont. Inc., 334 B.R. 663, 671 (Bankr. D. Mt. 2005) (petition dismissed even where petitioning

  23   creditors’ claims constituted approximately 66% of the debt, where majority of such debt was

  24   to former insiders, new management was keeping bills current, and petitioning creditors

  25   engaged in serious misconduct).

  26          In certain cases where the totality of the circumstances have not varied from day to day

  27   or month to month, courts have found that a debtor was generally not paying its debts based

  28   snapshot of an alleged debtor’s debts on the petition date. That can be appropriate where, for


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   1   example, a debtor is not an operating business. For such a debtor, their debts on any given day

   2   (petition date or otherwise) will be more or less the same. See, e.g., In re Euro-American

   3   Lodging Corp., 357 B.R. 700, 713 (Bankr. S.D.N.Y. 2007) (alleged debtor, a real estate

   4   holding company was the borrower on a secured loan that had been in default for 15 years, the

   5   debtor never had a bank account and never paid a creditor, and the petitioning creditor held

   6   90% of the debt); Focus Media, Inc. v. NBC (In re Focus Media, Inc.), 378 F.3d 916, 929 (9th

   7   Cir. 2004) (substantial amounts of unpaid bills and no plans or ability to pay them). But for an

   8   operating solvent debtor (like KP3), that pays its obligations as they come due, Petitioning

   9   Creditors’ comparison would punish it for doing exactly what Congress was trying to ensure it

  10   was doing – paying its debts as they come due.

  11          Petitioning Creditors’ test is the wrong test. The correct test looks at payments over

  12   time, including all operating expenses and funded debt, which KP3 is unquestionably paying.

  13   See Vortex, 277 F.2d at 1072; In re All Media Props., Inc., 5 B.R. 126, 144 (Bankr. S.D. Tex.

  14   1980), aff’d 646 F.2d 193 (5th Cir. 1981) (“[P]ayment of debts prior to the filing of the petition

  15   would, of course, be a valid defense to an involuntary petition.”). Of course, where appropriate,

  16   a court may deny a petition based on a snapshot of the alleged debtor’s outstanding debt as part

  17   of the totality of the circumstances test. See e.g. Laxmi Jewel Inc. v. C&C Jewelry Mfg., Inc.

  18   (In re C&C Jewelry Mfg., Inc.), Nos. CC-08-1190-HMoMk, CC-08-1267-HMoMk, 2009

  19   Bankr. LEXIS 4517, at *37 (B.A.P. 9th Cir. Apr. 14, 2009 (47.4% of the total invoices open

  20   for over 120 days does not demonstrate general non-payment; also considering assets greater

  21   than liabilities, payroll obligations, payroll taxes, corporates taxes all current, post-petition

  22   payments current, and there is no evidence of material non-payments or inability to meet

  23   payment obligations).

  24                  iii.     Petitioning Creditors’ “Bad Faith” Argument

  25          Petitioning Creditors also argue KP3’s “bad faith in not paying the large debts owed to

  26   Petitioning Creditors amounts to circumstances that justify involuntary relief.” Pretrial

  27   Statement ¶ 69. By bad faith, they are presumably referring to their allegation that KP3 did not

  28   pay them for a “non-commercial, mean-spirited” reason. Pretrial Statement ¶ 5. The argument


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   1   is baseless. Section 303(h) expressly provides that relief under section 303 is only available

   2   when the debtor is generally not paying its debts as they come due. 11 U.S.C. § 303(h).

   3   Involuntary bankruptcy is designed to “protect all creditors from the loss occasioned by a

   4   company failing completely.” In re All Media Props., Inc., 5 B.R. 126, 148 (Bankr. S.D. Tex.

   5   1980), aff’d 646 F.2d 193 (5th Cir. 1981). It “was not intended to address the special

   6   grievances, no matter how legitimate, of particular creditors of a business otherwise holding its

   7   own.” In re Brooklyn Res. Recovery, Inc., 216 B.R. 470, 486 (Bankr. E.D.N.Y. 1997).

   8           Petitioning Creditors appear to be misapplying a line of cases carving out an exception

   9   to an exception that is no longer the law, if it ever was. Early cases questioned whether a

  10   debtor that had only a single creditor could ever be “generally not paying” if it was only not

  11   paying one person. See e.g. Concrete Pumping Serv., Inc. v. King Constr. Co., 943 F.2d 627,

  12   629 (6th Cir. 1991); In re BDI, 701 F.2d 1071 (2d Cir. 1983). The earliest decisions concluded

  13   not, establishing an “almost per-se rule”, and subsequent courts carved out an exception,

  14   holding that the court can grant relief if there are special or exceptional circumstances. The

  15   courts applying the almost per se rule will make an exception only where there is “(1) an

  16   exceptional case of a debtor with a sole creditor who would otherwise be without an adequate

  17   remedy under State or Federal law (other than bankruptcy law) if denied an order for relief or

  18   (2) a showing of special circumstances amounting to fraud, trick, artifice or scam.” Id. (quoting

  19   In re 7H Land & Cattle Co., 6 B.R. 29, 34 (Bankr. D. Nev. 1980). Petitioning Creditors

  20   contend that the so-called “almost per se” rule applies here, because their claims, in aggregate,

  21   constitute virtually 100% of the unpaid non-insider debt on the Petition Date. See Morabito v.

  22   JH, Inc. (In re Morabito), No. NV-14-1593-FBD, 2016 Bankr. LEXIS 2207, at *9 (B.A.P. 9th

  23   Cir. June 6, 2016) (judgment “amounted to over 98% of his debts”); In re Huggins, 380 B.R.

  24   75, 81 (Bankr. M.D. Fla. March 28, 2007) (“The [d]ebtor conceded the [judgment] is his only

  25   debt); In re Moss, 249 B.R. 411, 422 (Bankr. N.D. Tex. 2000) (debt was “99% of the amount

  26   of her total debts”).

  27           Petitioning Creditors’ machinations to convert their claims into 100% of KP3’s debt are

  28   unavailing, as discussed herein, and whatever their protestations, Petitioning Creditors


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   1   complaints do not amount to a showing fraud, trick, artifice or scam. Courts have found special

   2   circumstances where the debtor has engaged in egregious fraudulent transfers or other asset

   3   concealment schemes. See e.g. BDI, where creditor bank accidentally deposited $7 million in

   4   debtor’s account, debtor transferred funds to Holland, refused to repay the funds, closed its

   5   doors, and started a new company doing the same thing. But no case has found acrimonious

   6   business dealings to be special circumstances that justify keeping a company that is generally

   7   paying its debts in bankruptcy court. To the contrary, acrimonious business dealings are a

   8   factor that court’s look to when dismissing petitions filed by angry or impatient creditors

   9   against debtors who are generally paying their debts as they come due. See Vortex, 277 F.3d at

  10   1072.

  11           KP3 submits that the facts as described herein speak for themselves as to the genesis of

  12   the dispute between the parties, and further contends that non-payment of a creditor that a

  13   debtor is in litigation with is rational ordinary corporate behavior, and not relevant to the

  14   inquiry before the Court. The early case of In re Goldsmith, 30 B.R. 956 (Bankr. E.D.N.Y.

  15   1983) is particularly analogous. In Goldsmith, the petitioning creditor, Al’s Heating Service,

  16   filed an involuntary chapter 11 petition against the alleged debtor, Goldsmith, alleging a debt

  17   of $85,734.91 and that the debtor was generally not paying its debts as they come due. Under

  18   this earliest version of the Bankruptcy Code, there was no exclusion for debts subject to bona

  19   fide dispute, Al’s claim exceeded the statutory threshold of $5,000, and there were fewer than

  20   12 creditors. The debt to Al’s was incurred over a period of 8 years. Id. at 957. The alleged

  21   debtor testified that it had not paid Al’s because it believed it only owed Al’s $51,267.15, and

  22   the balance was attributable to interest and fees that the debtors argued they did not owe. The

  23   alleged debtors explained that they failed to pay Al’s the undisputed portion of its claim based

  24   on “sound business principles: they do not wish to jeopardize their negotiating posture.” Id. at

  25   958. In particular the court noted their argument that
                      there is no reasonable business man that is going to knuckle down
  26                  to an inflated demand and say, ‘oh, well, I don’t really owe you
  27                  $100,000, I owe you 50, so here is the 50,’ and leave himself open
                      for a lawsuit for the hundred. If there is no agreement as to the
  28                  figure, any reasonable businessman is going to say, ‘Look, until


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                       you agree with me as to what I owe you, I am not going to pay
   1                   you. This is normal business procedure.
   2   Goldsmith, 30 B.R. at 958. The Court dismissed the petition, finding that Goldsmith, an
   3   operating debtor, clearly had the ability, but not the willingness to pay.
   4            KP3 has not acted in bad faith. Its alleged mistreatment of the Pancheri Creditors does
   5   not provide an end-run around the requirement that an involuntary petition can only be granted
   6   if an alleged debtor is generally not paying its debts as they come due.
   7            In short, KP3 is solvent and extraordinarily profitable. Even including the claims of
   8   Petitioning Creditors that are subject to bona fide dispute, there are no creditors to whom KP3
   9   has regularly defaulted or to whom KP3 has a longstanding default. And there is no threat to
  10   KP3’s ability to pay Petitioning Creditors’ claims if they prevail in an appropriate forum. Here
  11   there “is neither a need for a fresh start nor any allegation of inequitable distribution of the
  12   alleged debtor’s assets.” Goldsmith, 30 B.R. at 964 (internal citations omitted). Rather, the
  13   Pancheri Creditors filed the Petition so that KP3 would be “confronted with the Hobson’s
  14   choice of either paying a debt [it] does not deem [it]self to owe or be forced into involuntary
  15   bankruptcy . . . .” Id. Nothing in the record supports the Petitioning Creditors’ assertion that
  16   KP3 is generally not paying its debts as such debts become due.
  17   V.       PETITIONING CREDITORS COMMENCED THIS CASE IN BAD FAITH
  18            Even if Petitioning Creditors could carry all of their statutory burdens under Section
  19   303—and they cannot—the Petition should still be dismissed because it was brought in bad
  20   faith.
  21            A.     Legal Standard: Dismissal For Bad Faith
  22            The parties agree that “bad faith provides an independent basis for dismissing an
  23   involuntary petition.” (Pretrial Statement ¶ 106 (citing In re Forever Green Athletic Fields,
  24   Inc., 804 F.3d 328, 330, 334 n.5, 335 (3d Cir. 2015), and In re WLB-RSK Venture, 296 B.R.
  25   509, 513 (Bankr. C.D. Cal. July 28, 2003)). As explained by the Third Circuit in In re Forever
  26   Green Athletic Fields, Inc., dismissal on the basis of bad faith is supported by the statutory
  27   language of section 303, and “Congress intended for bad faith to serve as a basis for both
  28   dismissal and damages.” Forever Green, 804 F.3d at 334. Where, as here, there are only three


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   1   petitioning creditors, the bad faith of a single petitioning creditor is fatal to the petition because

   2   it brings the number of petitioning creditors below the 303(b) statutory threshold. See id. at

   3   338 (petition dismissed because one creditor’s bad faith “[left] only two good-faith creditors

   4   when the statute requires three.”)

   5          Courts in the Ninth Circuit examine bad faith using “an objective inquiry into the

   6   evidence” to ascertain what a reasonable creditor would have done in the petitioning creditors’

   7   circumstances. WLB-RSK, 296 B.R. at 513 (citing In re Wavelength, 61 B.R. 614, 620 (B.A.P.

   8   9th Cir. 1986); C & C Jewelry Mfg. v. Laxmi Jewel Inc. (In re C & C Jewelry Mfg.), 373 F.

   9   App’x 775, 777 (9th Cir. 2010) (applying objective test).

  10          The bad faith analysis is factually intensive, and in conducting this review courts may

  11   consider a number of factors, including, but not limited to, whether:

  12          1.      the filing was used as a substitute for customary debt-collection procedures;
  13          2.      the petitioning creditors used the filing to obtain a disproportionate advantage
                      for themselves rather than to protect against other creditors doing the same;
  14          3.      the creditors made a reasonable inquiry into the relevant facts and pertinent law
                      before filing;
  15          4.      the filing was used as a tactical advantage in pending actions;
              5.      the filing was motivated by ill will or a desire to harass;
  16
              6.      the filing had suspicious timing;
  17          7.      there was evidence of preferential payments to certain creditors or of dissipation
                      of the debtor’s assets;
  18          8.      the creditors satisfied the statutory criteria for filing the petition; and
              9.      the involuntary petition was meritorious.
  19
       See In re Forever Green Athletic Fields, Inc., 804 F.3d at 336 (collecting cases) (Forever
  20
       Green did not assign each factor a number. The factors have been numbered and reordered for
  21
       ease of reading).
  22
              B.      There Is Overwhelming Evidence Of Petitioning Creditors’ Bad Faith
  23
              The first five factors each provide an independent ground to find bad faith. The final
  24
       four factors all weigh in the analysis. All nine factors from Forever Green overwhelmingly
  25
       show that the Petition was filed in bad faith.
  26
                      i.        The Filing Was A Substitute For A Debt Collection Action
  27
              The paradigmatic example of bad faith is the use an involuntary petition “as a substitute
  28
       for customary debt collection practices.” See In re Forever Green Athletic Fields, Inc., 804

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   1   F.3d 328, 336-37 & n.7; Atlas Mach. & Iron Works, Inc. v. Bethlehem Steel Corp., 986 F.2d

   2   709, 716 n.11 (4th Cir. 1993) (“[d]ebt collection is not a proper purpose of bankruptcy”); In re

   3   Nordbrock, 772 F.2d 397, 400 (8th Cir. 1985) (“A creditor does not have a special need for

   4   bankruptcy relief if it can go to state court to collect a debt.”); In re Tichy Elec. Co., 332 B.R.

   5   364, 374 (Bankr. N.D. Iowa 2005) (“improper use of the Bankruptcy Code as a substitute for

   6   customary collection procedures”).      It is undisputed that Petitioning Creditors filed this

   7   involuntary proceeding as a substitute for debt collection practices, and they have openly

   8   admitted that the purpose of the Petition was to get their claims “paid as quickly as possible.”

   9   This purpose reason enough to find that the petition was filed in bad faith. In re Tichy, 332

  10   B.R. at 377 (use of involuntary bankruptcy as a collection device “is forbidden”).

  11          The Petitioning Creditors mince no words in explaining why they filed the Petition:

  12   because they believed it was the fastest, most effective way to guarantee payment on their

  13   claims against KP3.

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  25                              is consistent with Tom’s, and confirms that the sole purpose for the
  26   involuntary is to collect on the debt Petitioning Creditors believe they are owed. When asked
  27   why the Petitioning Creditors opted not to pursue state court litigation or arbitration to recover
  28   amounts they claim they are owed, Ryan answered:


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   7                  ii.     The Petitioning Creditors Used The Filing To Obtain A

   8                          Disproportionate Advantage For Themselves

   9          Courts will find bad faith “any time a creditor uses an involuntary bankruptcy to obtain

  10   a disproportionate advantage to that particular creditor’s position rather than to protect against

  11   other creditors obtaining such a disproportionate advantage.” In re Better Care, Ltd., 97 B.R.

  12   405, 411 (Bankr. N.D. Ill. 1989) accord In re Mi La Sul, 380 B.R. 546, 557 (Bankr. C.D. Cal.

  13   2007) (quoting Better Care).

  14          Petitioning Creditors evince no concern about protecting their position against other

  15   creditors, as they acknowledge KP3 would be able to satisfy a judgment.

  16

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  18                                                                                 Even in defending

  19   against the accusation against bad faith, Petitioning Creditors’ attribute their need for prompt

  20   payment to their own business needs, not to any risk attributable to KP3’s financial condition:

  21   “[T]the Petition was filed to obtain prompt payment of their claims and so working capital will

  22   be available to allow Erik and Ryan to carry on with their new business as they had done

  23   before the formation of KP3 in early 2017.” (Pretrial Statement ¶ 124 (disputed fact asserted by

  24   Petitioning Creditors)).

  25          More damning is Petitioning Creditors’ admission that they “do not desire that KP3 be

  26   liquidated or reorganized.” (Pretrial Statement ¶ 118 (undisputed facts)). In other words, they

  27   filed the Petition with the sole purpose of collecting cash for themselves.           This alone

  28   demonstrates bad faith. In re Grossinger, 268 B.R. 386, 387 (Bankr. S.D.N.Y. 2001) (bad faith


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   1   if intent is to “put a debtor into involuntary bankruptcy, negotiate a settlement and walk

   2   away”); In re Forever Green Athletic Fields, Inc., 804 F.3d at 336 (bad faith because creditor

   3   was “using the bankruptcy process to exert pressure” to pay judgment ahead of other creditors).

   4   It is a bad faith filing when the petition “was an attempt to collect the delinquent funds and not

   5   a sincere attempt to liquidate or reorganize this business.” In re Tichy Elec. Co., 332 B.R. at

   6   376. As here, the petitioning creditors in Tichy “understood that after filing, some negotiations

   7   would occur, payments would be made, and the case dismissed.” Id. 2 Particularly relevant in

   8   Tichy was a petitioning creditor’s email to the alleged debtor that the petition could be

   9   dismissed if “payment could be made within 30 days of payment.” Id. Here, Petitioning

  10   Creditors made the same offer to KP3 in a deposition 15 days after the Petition Date.

  11

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  14          Petitioning Creditors had no intention of waiting around for an orderly distribution of

  15   KP3’s assets. They just calculated that the Petition would give them leverage to get paid as

  16   quickly as possible.

  17                  iii.    The Petitioners Did Not Conduct A Reasonable Pre-Filing Inquiry.

  18          Petitioning Creditors’ lack of pre-filing diligence constitutes bad faith because it

  19   violates the requirement that a petitioning creditor must “reasonably investigate or inquire

  20   about the Debtor’s financial position” before initiating an involuntary proceeding. In re Molen

  21   Drilling Co., 68 B.R. 840, 843-44 (Bankr. D. Mont. 1987); see also Duran v. Antonini (In re

  22   Antonini), Nos. 09-16850-AJC, 10-03792-AJC, 2012 Bankr. LEXIS 133, at *22-23 (Bankr.

  23   S.D. Fla. Jan. 10, 2012) (finding bad faith where “Antonini did not conduct any reasonable due

  24   diligence regarding Duran’s financial condition prior to filing the Involuntary Petition.”); Atlas

  25

  26

  27   2
         Even if Petitioning Creditors have now figured out some ostensible bankruptcy purpose that
       might hypothetically apply, it does not fix the problem. See id. (“reasons why a hypothetical
  28
       creditor would use an involuntary Chapter 7 procedure” are irrelevant where petitioning
       creditors testified that their purpose was collection). Id.
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   1   Mach. & Iron Works, Inc. v. Bethlehem Steel Corp., 986 F.2d 709, 716 (4th Cir. 1993) (bad

   2   faith because creditor’s prepetition calculation of number of creditors was unreasonable).

   3          The testimony of each of the Petitioning Creditors’ representatives confirms that their

   4   pre-filing inquiries consisted of nothing more than reviewing the amounts that KP3 purportedly

   5   owed to them.

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  16                   iv.    The Filing Was An Attempt To Gain A Tactical Advantage In The

  17                          State Court Action.

  18          The use of an involuntary petition to gain a strategic advantage in state court litigation

  19   is an improper purpose constituting bad faith. See In re Forever Green Athletic Fields, Inc.,

  20   804 F.3d at 337 n.7; In re WLB-RSK Venture, 296 B.R. at 515 (dismissing involuntary petition

  21   because it was filed “as a litigation tactic”); In re Silverman, 230 B.R. 46, 53 (Bankr. D.N.J.

  22   1998) (“Filing an involuntary petition with the intent to gain a strategic advantage . . .

  23   constitutes an improper purpose.”); In re Dami, 172 B.R. 6, 10 (Bankr. E.D. Pa. 1994) (“Where

  24   the purpose of the bankruptcy filing is to defeat state court litigation without a [bankruptcy]

  25   purpose, bad faith exists.”).

  26          Here, REPS attempted to use its filing of the Petition to gain a strategic advantage in

  27   the State Court Action, and specifically to assist its President (Erik Pancheri) in his efforts to

  28   evade a deposition in that litigation. Just weeks after the State Court Action was filed, KP3


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   1   served Erik with a notice of deposition in the State Court Action, seeking to take Erik’s

   2   deposition on December 11, 2017. (Neufeld Decl. Ex. BW (Notice of Deposition)). On

   3   December 8, 2017, the last business day before his deposition date, Erik refused to attend the

   4   deposition. (Neufeld Decl. Ex. CZ). Erik’s counsel in the State Court Action, Charlie Hoge,

   5   subsequently agreed in writing that Erik would appear for deposition on January 4, 2018.

   6   (Neufeld Ex. CX (Dec. 11, 2017 email)). According to Petitioning Creditors, it was around

   7   this time, (“early December 2017”) that they first began discussing an involuntary petition with

   8   their bankruptcy counsel, Thomas Gorrill. (Pretrial Statement ¶ 123). On Friday, December

   9   29, 2017, Mr. Hoge reneged on his agreement and stated that Erik was no longer agreeing to

  10   appear for deposition on January 4, 2018. (Neufeld Decl. Ex. BZ.)

  11          On January 2, 2018 at 10:21 a.m., KP3 informed Erik’s counsel that it would be

  12   moving the next day for ex parte relief to compel Erik’s deposition. (Neufeld Decl. Ex. DD.)

  13   At 5:01 p.m. that same day, after receiving notice of the impending ex parte hearing,

  14   Petitioning Creditors filed the Petition. Minutes later, Mr. Hoge filed a “Notice of Automatic

  15   Stay” in the State Court Action. (Neufeld Decl. Ex. CA.) The next morning, on January 3,

  16   2018 at 8:30 a.m., the State Court held a hearing regarding KP3’s motion to compel Erik to

  17   appear for the deposition.3 At the hearing, Mr. Hoge argued that the State Court should not

  18   consider the motion because the State Court Action was stayed as a result of Petitioning
  19   Creditors’ filing of the Petition. (Neufeld Decl. Ex. CE (Jan. 3, 2018 Transcript at 2:19-3:7.)
  20   Tellingly, Mr. Hoge revealed that he had called to inform the State Court of the supposed

  21   stay even before the bankruptcy was filed, confirming that Petitioning Creditors filed the

  22   Petition with an intention to immediately use the filing to stay the State Court Action.

  23   (Id. at Ex. ____ (Jan. 3, 2018 Tr.) at 2:19-3:7 (“I also called the clerk about 4:30 p.m. yesterday

  24   just to alert the clerk that that filing was about to occur. It didn’t actually occur until 5:01 p.m.

  25   yesterday.”) Over the following two months, Mr. Hoge would argue repeatedly in the State

  26

  27   3
         See Trial Exhibit CE. KP3 requests that the Court take judicial notice of the proceedings in
       the State Court Action on January 3, 2018 pursuant to the Request for Judicial Notice filed
  28
       concurrently herewith.

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   1   Court Action that KP3 could not compel Erik’s deposition because the filing of the Petition had

   2   stayed the State Court Action or otherwise stripped KP3 of standing to pursue its claims

   3   against Erik and Ryan. And while the State Court rejected Mr. Hoge’s “stay” argument, Erik

   4   still has not appeared for deposition in the State Court Action.

   5          Petitioning Creditors predictably argue that their purpose for filing of the Petition was

   6   unrelated to any strategic considerations in the State Court Action. Yet it is beyond dispute

   7   that Erik and Ryan have exploited the Petition to provide a tactical advantage in the State Court

   8   Action, providing further support for a finding of bad faith. See In re Forever Green Athletic

   9   Fields, Inc., 804 F.3d at 337 n.7; In re WLB-RSK Venture, 296 B.R. at 515.

  10                  v.      The Filing Was Motivated By Ill Will Towards KP3.

  11          The petitioning creditor’s ill will and desire to harass the alleged debtor can also

  12   provide an independent basis to find bad faith. See In re Wavelength, Inc., 61 B.R. 614, 620

  13   (B.A.P. 9th Cir. 1986) (affirming bad faith determination on the basis of ill will or malice).

  14   Here, Petitioning Creditors’ ill will and desire to harass is clear. The parties agree that this is an

  15   acrimonious fight on both sides. (Pretrial Statement ¶ 5) (“Petitioning Creditors . . . dispute the

  16   bad faith assertions and contend the situation is exactly the other way around.”). Petitioning

  17   Creditors’ ill will is also supported by the Pancheri Creditors’ baseless suggestions that Robert

  18   and John might flee the country, described in subsection ____, below, and their other

  19   insinuations about Robert and John’s supposed intentions.

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  27          Similarly, BLPT’s ill will and desire to harass is demonstrated by its decision to file the

  28   Petition as quickly as possible after it believed KP3 had defaulted. The suspiciously quick


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   1   filing—on the very same day that KP3’s payment was due—foreclosed any possibility that

   2   KP3 might pay the TJP Note and thereby prevent the Pancheri Creditors from asserting the

   3   debt in an involuntary petition. The timing suggests that BLPT was not concerned with

   4   collecting on its own claim, but with qualifying as a petitioning creditor so that it could punish

   5   KP3 and further the interests of REPS, Erik and Ryan.

   6                  vi.     The Filing Had Suspicious Timing

   7           Courts will also consider whether the filing was suspiciously timed. As described in the

   8   preceding subsections, the suspicious timing of the filing suggests (i) the Petition was used for

   9   tactical advantage in the State Court Action and (ii) that BLPT was not independently

  10   motivated to get paid on its own claim but rather to further the interests of REPS, Erik and

  11   Ryan. The joinder of SDCC was also suspiciously timed, given that it occurred well after its

  12   claim had been paid.

  13                  vii.    Petitioning Creditors Had No Evidence of Preferential Payments or

  14                          Dissipation of KP3’s Assets.

  15           Petitioning Creditors have provided no evidence of preferential transfers or dissipation

  16   of assets, another factor that points toward their bad faith. (See Pretrial Statement ¶ 88

  17   (undisputed that “[e]xcept for KP3’s non-payment of their claims, Petitioning Creditors have

  18   not alleged any problem with the nature of KP3’s conduct of its financial affairs.”). And KP3

  19   could not have made any such transfers as a matter of law because, as Petitioning Creditors

  20   concede, “[a]s of the Petition Date and at all relevant times, KP3 was solvent, operating and

  21   generating a profit.” (Pretrial Statement ¶ 84; In re Goldsmith, 30 B.R. 956, 964 (Bankr.

  22   E.D.N.Y. June 22, 1983) (“clearly solvent debtor . . . cannot have made voidable preferences . .

  23   . or fraudulent transfers”); see also In re Wavelength, Inc., 61 B.R. 614, 620 (B.A.P. 9th Cir.

  24   1986) (finding that alleged debtor “was not insolvent . . . supports the conclusion of bad

  25   faith”)).

  26           Petitioning Creditors never had a good faith belief that there was a risk of asset

  27   dissipation.

  28                                                                                        or otherwise


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   1   “spirit away KP3’s assets (REPS Resp. to KP3 Interrog. No. 12; Trust Resp. to KP3 Interrog.

   2   No. 10).

   3

   4

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   6              (REPS Resp. to KP3 Interrog. No. 10; Trust Resp. to KP3 Interrog. No. 8.) Based on

   7   that, they claim to have begun believing there was a flight risk “by January 1, 2018,” the day

   8   before the Petition Date. Id. REPS and the Trust also gave similar answers when asked to

   9   describe the basis for any belief that there was a risk KP3 might transfer property in exchange

  10   for less than reasonably value. (See REPS Resp. to KP3 Interrog. No. 11; Trust Resp. to KP3

  11   Interrog. No. 9.).

  12          But in their depositions, neither Ryan nor Erik could maintain that Petitioning

  13   Creditors’ flight risk concerns were serious.

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  19                  viii.   Petitioning    Creditors      Did   Not     Satisfy—And       Knowingly

  20                          Disregarded—The Statutory Criteria For Filing The Petition.

  21          As described in Section __ herein, PCs did not satisfy the statutory criteria to become

  22   Petitioning Creditors because all three PCs’ claims were in bona fide dispute. The Pancheri

  23   Creditors also filed the Petition with an insufficient number of creditors. SDCC’s subsequent

  24   joinder does not save them.

  25          Despite the liberal joinder provisions of the Code, the courts have held “the three

  26   creditor requirement is not a meaningless formality that a creditor may ignore until after filing

  27   the petition.” In re Dino’s, 183 B.R. 779, 782 (S.D. Oh. 1995) (internal quotations omitted)

  28   (quoting In re Alta Title Co., 55 B.R. 133, 137 (Bankr. D. Utah 1985), quoting Basin Elec.


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   1   Power Coop. v. Midwest Proc. Co., 769 F.2d 483, 486 (8th Cir. 1985)). “In fact, the courts

   2   have held ‘that an essential prerequisite for allowing joinder of additional creditors to cure a

   3   defective petition is that the original petition was filed in good faith, and not as a fraudulent

   4   attempt to confer jurisdiction upon the court with a view of being later supported by

   5   intervention of other creditors.” Id. (quoting Alta, 55 B.R. at 137). “The ability to force a

   6   debtor into bankruptcy in the hands of a single creditor is a very dangerous weapon.” Id. at

   7   783. “The policy behind the rules requiring three petitioning creditors are: (i) the fear that

   8   involuntary bankruptcy might be used by one or two recalcitrant creditors as a means of

   9   harassing an honest debtor; and (ii) the possibility that the threat of an involuntary petition

  10   would be used to compel the debtor to make preferential payments to one or more litigious

  11   creditors.” Id. (internal quotations omitted) (quoting In re Earl Sims, Jr., 994 F.2d 210, 217

  12   (5th Cir. 1993).)

  13          When the Petition was filed on January 2, 2018, and when it was amended on January

  14   19, there were only two Petitioning Creditors, in contravention of the requirement in Section

  15   303(b)(1). The failure to file with three petitioning creditors reflects Petitioning Creditors’

  16   disregard for the statutory criteria of which they were aware.

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  25          Despite having knowledge of both the legal requirement for three petitioning creditors,

  26   and also that KP3 had “around 12 creditors” (based on Ryan’s intimate personal experience),

  27   the Pancheri Creditors made a calculated decision to file the Petition before they could recruit a

  28   third petitioner. That is bad faith. See Basin Elec. Power Coop., 769 F.2d at 486-87


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   1   (insufficient number of creditors filed a deficient petition when they knew or should have

   2   known the alleged debtor had more than twelve creditors); Atlas Mach. & Iron Works, Inc. v.

   3   Bethlehem Steel Corp., 986 F.2d 709, 716 (4th Cir. 1993) (bad faith where creditor’s pre-

   4   petition investigation unreasonably concluded that debtor had fewer than twelve eligible

   5   creditors under the section 303(b) criteria).

   6          Having knowingly filed a deficient Petition without consulting any other creditor in

   7   advance, the Pancheri Creditors desperately needed a third creditor. They could only do so by

   8   leveraging a personal relationship with a creditor that KP3 had already paid. SDCC has no

   9   economic interest in this case.

  10

  11                                                                                               Thus,

  12   SDCC cannot obtain any benefit as a creditor from joining the Petition but is also protected

  13   from any harm through the machinations of the Pancheri Creditors. That sort of gamesmanship

  14   makes a mockery of the section 303(b) requirements. Cf. Fed. R. Bankr. P. 1003(a)

  15   (disqualifying entities from commencing an involuntary bankruptcy if they transferred or

  16   acquired a claim for the purpose of commencing a case).

  17          Even if none of the Petitioning Creditors’ claims were in bona fide dispute, the decision

  18   to file with two creditors and the gamesmanship surrounding the joinder of SDCC provides a

  19   basis to dismiss the Petition on bad faith grounds.

  20          In sum, none of the Petitioning Creditors has even attempted to advance a purpose for

  21   this bankruptcy other than to pressure KP3 into paying their claims, and all relevant factors

  22   support a finding of This is a textbook bad faith involuntary petition.

  23          C.      The Petition Has Damaged KP3.

  24          The Petition has already done significant damage to KP3’s business. In a Google

  25   search for KP3 Endeavors, several of the first hits are related to this involuntary bankruptcy

  26   case. The ramifications are already being felt. KP3 is actively hiring employees as it seeks to

  27   build on its strong growth, but potential candidates may be reluctant to join under the specter of

  28   bankruptcy. Other candidates may have decided not to contact KP3 at all. The harm to hiring


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   1   is particularly acute because Erik and Ryan used their time at KP3 to poach more than half of

   2   KP3’s employees to work at their current venture. (Karr Decl. ¶29.)

   3          KP3’s sources of new credit have also tightened. KP3 requires additional working

   4   capital to purchase additional ticket inventory for resale. The pending bankruptcy has stymied

   5   KP3’s ability to obtain additional credit, and at least one lender has specifically identified the

   6   bankruptcy as the sole basis for refusing to lend. Without working capital, KP3 loses the

   7   opportunity to purchase tickets before the most popular events sell out, to a significant

   8   financial loss of opportunity for KP3. (Karr Decl. ¶30.)

   9          Several of KP3’s significant vendors, including its landlord and Broker Genius, have

  10   called to discuss KP3’s financial health and required assurances that it was continuing to

  11   operate without disruption. KP3 may also have suffered other harms from publicly being in

  12   bankruptcy for more than three months—it has not yet attempted to quantify them all. (Karr

  13   Declaration ¶31.)

  14   VI.    PETITIONING CREDITORS CANNOT MEET THEIR BURDEN TO SHOW
              THAT THEIR CLAIMS ARE NOT IN BONA FIDE DISPUTE AS TO
  15          LIABILITY AND AMOUNT
  16          The Petition should be dismissed under section 303 of the Bankruptcy Code because
  17   Petitioning Creditors cannot meet their burden to prove that their claims are not in bona fide
  18   dispute as to liability and amount.
  19          Section 303(b)(1) provides, in pertinent part, as follows:
  20
                      (b) An involuntary case against a person is commenced by the filing with the
  21                  bankruptcy court of a petition under chapter 7 or 11 of this title–

  22                  (1) by three or more entities, each of which is either a holder of a claim against
                          such a person that is not contingent as to liability, or the subject of a bona
  23                      fide dispute as to liability or amount . . . if such noncontingent, undisputed
                          claims aggregate at least $15,775 more than the value of any lien on
  24
                          property of the debtor securing such claims held by the holders of such
  25                      claims;
                      (2) if there are fewer than 12 such holders, excluding any employee or insider
  26                      of such person and any transferee of a transfer that is voidable . . ., by one or
                          more of such holders that hold in the aggregate at least $15,775 of such
  27                      claims.
  28


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   1

   2   11 U.S.C. § 303(b).

   3          On February 14, 2018, KP3 filed the Creditor List showing approximately 60 creditors

   4   holding claims against KP3 (Dkt. 29). Petitioning Creditors raised informal objections to some

   5   of the creditors on the list, but ultimately conceded that KP3 had at least twelve qualifying

   6   creditors on the Petition Date. Neufeld Declaration ¶____.

   7

   8                                                              Accordingly, in the Pretrial Statement,

   9   the Petitioning Creditors did not raise a challenge the existence of at least twelve qualifying

  10   creditors. Because KP3 had more than twelve qualifying creditors on the Petition Date, under

  11   Section 303(b), the Petition must be dismissed unless there are at least three petitioning

  12   creditors whose claims are not subject to bona fide dispute.

  13          To determine whether a claim is in bona fide dispute, the Ninth Circuit Court of

  14   Appeals employs the “objective test” adopted by the majority of circuits that considers

  15   “whether there is an objective basis for either a factual or legal dispute as to the validity of the

  16   debt.” Vortex, 277 F.3d at 1064 (quoting In re Busick, 831 F.2d 745, 750 (7th Cir. 1987)).

  17   Under the objective test, “[i]f there is either a genuine issue of material fact that bears upon the

  18   debtor’s liability, or a meritorious contention as to the application of law to undisputed facts,

  19   then the petition must be dismissed.” Id. (citations omitted). In In re O’Neil, No. 04-09162-

  20   JM7, 2006 Bankr. LEXIS 4704 (Bankr. S.D. Cal. Dec. 19, 2006), Judge Myers explained that

  21   the bona fide dispute requirement in section 303(b)(1) disqualifies a creditor whenever there is

  22   “any legitimate basis for the debtor not paying the debt, whether that basis is factual or legal,”

  23   because Congress did not intend to require a debtor to pay a legitimately disputed debt simply

  24   to avoid the stigma of bankruptcy. Id.at *3.

  25          In applying the objective test, courts in the Ninth Circuit, and throughout the country,

  26   generally employ a burden-shifting framework for the establishment of the existence or

  27   absence of a bone fide dispute as to liability or amount. See, e.g., Laxmi Jewel Inc. v. C&C

  28   Jewelry Mfg., Inc. (In re C&C Jewelry Mfg., Inc.), Nos. CC-08-41190-HMoMk, CC-09-1267-


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   1   HMoMk, 2009 Bankr. LEXIS 4517 (B.A.P. 9th Cir. April 14, 2009); In re Marciano, 446 B.R.

   2   407, 422 (Bankr. C.D. Cal. 2010), aff’d Marciano v. Fahs (In re Marciano), 459 B.R. 27

   3   (B.A.P. 9th Cir. 2011) (citation omitted). Under the burden-shifting framework, a petitioning

   4   creditor must establish a prima facie case that no bona fide dispute exists. Marciano, 446 B.R.

   5   at 422. In Marciano, for example, the petitioning creditors met that burden by showing that

   6   they had an unstayed judgment against the alleged debtor. Id. If the petitioning creditor fails to

   7   meet that burden, the petition must be dismissed for lax of standing. Once a petitioning

   8   creditor has met its prima facie burden, the burden shifts to the debtor to present evidence

   9   demonstrating that a bone fide dispute does exist. Id.

  10          But the ultimate burden to prove the absence of a dispute remains on the petitioning

  11   creditor. Liberty Tool v. Vortex Fishing Sys. (In re Vortex Fishing Sys.), 277 F.3d 1057 (9th

  12   Cir. 2001) (internal citation omitted); In re O’Neil, No. 04-09162-JM7, 2006 Bankr. LEXIS

  13   4704, *3 (Bankr. S.D. Cal. Dec. 19, 2006). A creditor asserting contract claims not yet

  14   reduced to judgment must show that there is no material legal or factual dispute as to the

  15   validity or amount of the debt. Mont. Dep’t of Revenue v. Blixseth, No. 2:13-1324-JAD, 2017

  16   U.S. Dist. LEXIS 206513 (D. Nev. Dec. 15, 2017).

  17          Here, the parties agree that “the material circumstances leading to the commencement

  18   of this case concern a dispute between KP3’s present and former directors.” Pretrial Statement

  19   ¶19. The documents evidencing the terms of the parties arrangements and disagreements have

  20   been submitted into evidence by KP3. Related claims have been brought, and will be brought,

  21   in the State Court Action or in arbitration, the bargained for forum under the Purchase

  22   Agreement. In light of the ongoing acrimony, none of Petitioning Creditors’ claims can be

  23   ascertained with any specificity. As one court noted, had Petitioning Creditors submitted these

  24   claims with a proof of claim, their claims would surely have drawn an objection and

  25   necessitated a trial. See In re Mt. Dairies, Inc., 372 B.R. 623 (Bankr. S.D.N.Y. 2007); see also

  26   Crest One SpA v. TPG Troy, LLC (In re TPG Troy, LLC), 793 F.3d 228, 231 (2d Cir. 2015)

  27   (“plethora of ongoing litigation that involves same nucleus of facts speaks strongly to the

  28   likelihood that there is a bona fide dispute”). As demonstrated below, Petitioning Creditors


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   1   cannot show that their claims are not subject to bona fide dispute as to liability or amount and

   2   therefore this proceeding should be dismissed.

   3          A.      SDCC’s Claims Are Subject To Bona Fide Dispute As To Liability And

   4                  Amount.

   5          Petitioning Creditor SDCC is a computer consulting company located in San Diego,

   6   California. On March 2, 2018, creditor SDCC joined (Dkt. 34, the “Joinder”) the Petition

   7   alleging that it had a claim for $1,161.00 as of the Petition Date, of which $387.00 was more

   8   than 60 days’ past due. The Joinder was signed by Glen Jaffe, SDCC’s owner. It is undisputed

   9   that as of the date of the Joinder, SDCC had been paid in full. (Glen Depo. Tr. 41:4-23)

  10          SDCC’s claims are subject to bona fide dispute as to liability and amount. KP3 had no

  11   liability to SDCC on the Petition Date because KP3 timely tendered payment of its invoices to

  12   SDCC in the manner required by SDCC and SDCC had failed to collect its payment, relieving

  13   KP3 of liability. California’s Civil Code provides: “If a creditor . . . at any time directs the

  14   debtor to perform his obligation in a particular manner, the obligation is extinguished by

  15   performance in that manner, even though the creditor does not receive the benefit of such

  16   performance.” Cal. Civ. Code § 1476. SDCC’s credit card authorization form provides, “this

  17   form is required for all new and existing customers.” Trial Exhibit AK. SDCC required

  18   payment by credit card. On or about November 8, 2017, Robert Karr authorized Glen to

  19   charge a new credit card number to pay an open invoice, and to place that credit card on file to

  20   automatically pay all future invoices. Karr Declaration ¶32. Glen charged the card and the

  21   charge went through. Id. KP3 authorized Glen to charge that card for future invoices. Id. KP3

  22   performed in the manner required by tendering a credit card with ample available credit and an

  23   expiration date far into the future. Id. SDCC issued invoices to KP3 on or about December 1,

  24   2017 and January 2, 2018, but failed to charge the credit card on account, thus extinguishing

  25   KP3’s liability therefore whenever it arose. Cal. Civ. Code § 1476. Accordingly, SDCC had

  26   no claim on the Petition Date.

  27          Even if SDCC had some right to payment on the Petition Date, the amount of its claim

  28   is in dispute. On March 2, SDCC filed its Joinder, two months after the Petition Date,


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   1   asserting a claim for $1,161, of which $387 is alleged to be 60 days past due. Dkt. 34.

   2

   3                                                                      KP3 disputed the contention.

   4

   5

   6

   7                                           On March 22, 2018, Mr. Jaffe submitted an errata sheet

   8   to his deposition, correcting his testimony to state that the amount due to SDCC on the Petition

   9   Date is $774. Trial Exhibit AQ. Accordingly, SDCC appears now to be claiming that $774

  10   was due on the Petition Date. It is unclear whether SDCC still claims that $387 was more than

  11   60 days past due – presumably it does not. Moreover, SDCC has yet to correct the Joinder it

  12   filed with the Court, in which Mr. Jaffe declared under penalty of perjury that KP3 owed

  13   $1,161 as of the Petition Date.

  14          Even after the “correction,” Glen’s testimony remains incorrect. On January 2, 2018,

  15   SDCC’s December invoice was unpaid, but its January invoice was not due. Trial Exhibit AK,

  16   pg 4. In other words, KP3 owed at most, half of what SDCC asserts it is due on the Petition

  17   Date, after its correction. Nor has SDCC provided any evidence to support its contention that

  18   $387 was more than sixty days past due on the Petition Date. SDCC cannot meet even the

  19   minimal burden to prima facie demonstrate its de minimus claim. See In re ELRS Loss

  20   Mitigation, LLC, 325 B.R. 604, 628 (Bankr. N.D. Okla. 2005) (determining claim filed by

  21   ostensible third-party creditor was subject to bona fide dispute where, “[h]e admits that he has

  22   no idea what he might be owed and relies solely upon the calculations supplied to him by [the

  23   former insider petitioning creditor]); see In re Guerra, Case No. 13-51100, 2014 Bankr. LEXIS

  24   580 (Bankr. N.D. Cal. Feb. 11, 2014) (petitioning creditor’s own conflicting statements give

  25   rise to the bona fide dispute). SDCC has the burden to prove the liability and amount of its

  26   claim and it has not met its burden. Mont. Dep’t of Revenue v. Blixseth, No. 2:13-1324-JAD,

  27   2017 U.S. Dist. LEXIS 206513 (D. Nev. Dec. 15, 2017). Without SDCC, Petitioning Creditors

  28   are back to only two petitioning creditors and this Petition should be dismissed.


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   1          B.      The Claims Of REPS And BLPT Are Part Of A Single Transaction To

   2                  Form KP3, And Petitioners’ Bad Acts Place These Claims In Dispute.

   3          As described in Sections VI.C through VI.E below, the claims asserted by REPS and

   4   the BLPT are subject to bona fide dispute on a number of factual and legal grounds. Each

   5   claim asserted by REPS and the BLPT is also in bona fide dispute as a result of the bad acts

   6   alleged by KP3 in the State Court Action. These bad acts are described in Section III.C, and

   7   include egregious misconduct and breaches of contractual and fiduciary obligations by Erik,

   8   Ryan and Tom Pancheri. See supra, Sec. III.C. Attempting to brush aside these inconvenient

   9   facts, Petitioning Creditors urge the Court to view their own claims against KP3 in a vacuum,

  10   and ignore the context in which those claims arise. Pretrial Statement ¶¶63-65. But because

  11   each of the claims asserted by REPS and BLPT arise from agreements relating to the same

  12   subject-matter and for the same purpose as the claims raised by KP3 in the State Court

  13   Action—i.e., the formation of KP3—California law requires that they be considered as one

  14   transaction.   The fact that Petitioning Creditors and their representatives have materially

  15   breached their obligations under the common transaction can therefore be raised by KP3 as a

  16   defense to Petitioning Creditors’ attempt to compel KP3 to perform its purported obligations

  17   under the common transaction.

  18          Under California law: “‘It is a general rule that several papers relating to the same

  19   subject-matter and executed as parts of substantially one transaction, are to be construed

  20   together as one contract.” Holguin v. Dish Network LLC, 229 Cal. App. 4th 1310, 1320 (2014)

  21   (quoting Symonds v. Sherman, 219 Cal. 249, 253 (1933)). This rule is established both by the

  22   case law and also by statute, in Civil Code § 1642: “Several contracts relating to the same

  23   matters, between the same parties, and made as parts of substantially one transaction, are to be

  24   taken together.” The rule is flexible, and “has been stated in varying ways” depending on the

  25   particular facts at hand. Harm v. Frasher, 181 Cal. App. 2d 405, 412 (1960). For example, it

  26   is not necessary that the agreements expressly reference one another if it “appears from

  27   extrinsic evidence that they were executed as a part of one transaction.” Id. at 413-14 (“The

  28   use of extrinsic evidence to lay the foundation for a consideration of several instruments as part


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   1   of a single transaction does not involve a violation of the parol evidence rule.”) The rule is

   2   also applicable “whether each of the several instruments was signed by all or only by some of

   3   the parties to the transaction. Id. (citing Mayers v. Loew’s Inc., 35 Cal. 2d 822 (1950)).

   4   Likewise, the rule will apply “to agreements executed by the parties at different times if the

   5   later document is in fact a part of the same transaction.’” Versaci v. Superior Court, 127

   6   Cal.App.4th 805, 814 (2005) (applying Cal. Civ. Code § 1642).

   7          Here, the formation of KP3 in early 2017 constituted a “single transaction” such that

   8   the “several papers relating to the subject-matter . . . are to be construed together as one

   9   contract.” See Holguin, 229 Cal. App. 4th at 1320. Petitioning Creditors’ own testimony

  10   confirms that the claims they are asserting against KP3—under the TJP Note, the REPS LOC,

  11   and the REPS Purchase Agreement—were all part of a common transaction for the formation

  12   of KP3.

  13

  14

  15

  16

  17                                                             Petitioning Creditors’ interrogatory

  18   responses are consistent with this testimony, and state that the REPS LOC and TJP Note were

  19   extended to KP3 “in connection with the formation of the business in January 2017.” (Trial

  20   Exhibit AM (REPS Rog. Response) at No. 4; Trial Exhibit AL(BLPT Rog. Response) at No. 3

  21   (“relative to the formation of KP3”).)

  22          Critically, the bad acts carried out by Erik, Ryan and Tom included breaches of other

  23   papers within the common transaction to form KP3. See supra, Sec. III.C. Specifically, and as

  24   alleged in KP3’s State Court Action, this conduct breached Erik and Ryan’s obligations under

  25   their Employment Agreements with KP3 to devote their “full time, attention and effort to the

  26   performance” of their duties for KP3, and to “ render Ticket Marketing Services exclusively

  27   for and on behalf of” KP3. (Karr Declaration Exs. BN, BO (Employment Agreements) at §§

  28   2.1-2.2.) Those Employment Agreements—like the REPS LOC,TJP Note, and REPS Purchase


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   1   Agreement—were integral to the formation of KP3. Based on the Petitioners’ bad acts and

   2   breaches of the common transaction, KP3 will raise defenses to the claims asserted by BLPT

   3   and REPS as follows.

   4                  i.        KP3’s Unclean Hands Defenses9

   5          The doctrine of unclean hands provides that “inequitable conduct by the plaintiff in

   6   connection with the matter in controversy … provides a complete defense to the plaintiff’s

   7   action.” Dickson, Carlson & Campillo v. Pole, 83 Cal. App. 4th 436, 446 (2000). A leading

   8   California decision describes unclean hands as follows:

   9          “The doctrine promotes justice by making a plaintiff answer for its own misconduct in
              the action. It prevents “a wrongdoer from enjoying the fruits of his transgression . . . “a
  10          plaintiff [must] act fairly in the matter for which he seeks a remedy. He must come into
              court with clean hands, and keep them clean, or he will be denied relief, regardless of
  11          the merits of his claim.”
  12
       Kendall-Jackson Winery, Ltd. v. Superior Court, 76 Cal. App. 4th 970, 978-79 (1999).
  13
       Ultimately, the unclean hands doctrine “is an equitable rationale for refusing a plaintiff relief
  14
       where principles of fairness dictate that the plaintiff should not recover, regardless of the merits
  15
       of his claim. It is available to protect the court from having its powers used to bring about an
  16
       inequitable result in the litigation before it.” Id. at 985 (citing Ford v. Buffalo Eagle Colliery
  17
       Co., 122 F.2d 555, 563 (4th Cir. 1941)).
  18
              In this case, the bad acts of Erik, Ryan and Tom can and should be imputed to BLPT
  19
       and REPS for purposes of the unclean hands defense. The evidence adduced in this proceeding
  20
       confirms that REPS played a role in Erik and Ryan’s bad acts, including by supplying credit
  21
       cards that were used by Erik and Ryan—with the assistance of KP3’s own employees—for the
  22
       new company.
  23

  24

  25

  26

  27   9
        Bankruptcy courts recognize unclean hands as a defense giving rise to a bona fide dispute to
       contract claims. See, e.g., In re C&C Dev. Grp., LLC, NO. 11-32362-BKC-AJC, 2012 Bankr.
  28
       LEXIS 2269, *5-6 (Bankr. S.D. Fla. May 21, 2012).

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   1                                                                       Likewise, the bad acts can be

   2   imputed to the BLPT given Tom is both (1) an investment advisor to the BLPT and participant

   3   in negotiation and execution of the TJP Note, and (2) a direct participant in the unlawful

   4   conduct at issue in the State Court Action.

   5          A similar issue was addressed in Peregrine Funding, Inc. v. Sheppard Mullin Richter &

   6   Hampton LLP, in which a corporate officer’s bad acts were imputed to the corporation in a

   7   “classic case for the unclean hands defense.” 133 Cal. App. 4th 658, 679-682 (2005). In

   8   Peregrine Funding, the plaintiff corporation argued that the unclean hands defense did not

   9   apply because the fraudulent acts of its former controlling officer could not be imputed to the

  10   corporation. Based on defendant’s allegations that the plaintiff corporation was “controlled

  11   by” the former officer at the time he committed the fraud, the Peregrine court found that the

  12   “fraud is properly imputed” to the corporation for purposes of the unclean hands doctrine. Id.

  13   at 680. As in Peregrine, REPS was “controlled by” Erik and Ryan,

  14

  15

  16          Erik, Ryan and Tom’s bad acts are also an appropriate basis for the unclean hands

  17   defense because they “relate to” to the subject matter of BLPT’s and REPS’ claims against

  18   KP3. California courts take a broad view of whether a plaintiff’s inequitable conduct relates to

  19   “the transaction concerning which the complaint is made,” and will look generally to the

  20   “subject matter involved and not whether it is part of the basis upon which liability is being

  21   asserted.” Peregrine Funding, LLP, 133 Cal. App. 4th at 681. In other words, BLPT and

  22   REPS cannot avoid the unclean hands doctrine by narrowly focusing their claims on those

  23   aspects of the common transaction that pertain to KP3’s payment obligations, while ignoring

  24   the parties’ other objectives and purposes for the formation of KP3. See Kendall-Jackson, 76

  25   Cal. App. 4th at 985 (“Any evidence of a plaintiff’s unclean hands in relation to the transaction

  26   before the court or which affects the equitable relations between the litigants in the matter

  27   before the court should be available to enable the court to effect a fair result in the litigation.”)

  28   (emphasis added). The bad acts of Erik, Ryan and Tom undeniably “infect[ed] the cause of


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   1   action involved and affect[ed] the equitable relations between the litigants.” Kendall-Jackson,

   2   76 Cal. App. 4th at 984.

   3                  ii.     KP3’s Material Breach Defense

   4          “When a party’s failure to perform a contractual obligation constitutes a material

   5   breach of the contract, the other party may be discharged from its duty to perform under the

   6   contract . . . A material breach of one aspect of a contract generally constitutes a material

   7   breach of the whole contract.” Brown v. Grimes, 192 Cal. App. 4th 265, 277–278 (2011); see

   8   also Consolidated World Investments, Inc., v. Lido Preferred Ltd. 9 Cal.App.4th 373, 380

   9   (1992) (“It is elementary a plaintiff suing for breach of contract must prove it has performed all

  10   conditions on its part or that it was excused from performance.”).

  11          The bad acts by Erik, Ryan and Tom were a material breach of obligations owed under

  12   the Employment Agreements. Because the Employment Agreements were part of the same

  13   “single transaction” to form KP3 that also gave rise to the agreements (and claims) now

  14   asserted by Petitioning Creditors, the material breaches are a defense to KP3’s performance

  15   obligations under those related agreements. Holguin, 229 Cal. App. 4th at 1320 (“[S]everal

  16   papers relating to the same subject-matter and executed as parts of substantially one

  17   transaction, are to be construed together as one contract.”).

  18                  iii.    KP3’s Implied Covenant Of Good Faith And Fair Dealing Defense

  19          “There is implied in every contract a covenant by each party not to do anything which

  20   will deprive the other parties thereto of the benefits of the contract. This covenant not only

  21   imposes upon each contracting party the duty to refrain from doing anything which would

  22   render performance of the contract impossible by any act of his own, but also the duty to do

  23   everything that the contract presupposes that he will do to accomplish its purpose.”

  24   Floystrup v. City of Berkeley Rent Stabilization Bd., 219 Cal. App. 3d 1309, 1318 (1990)

  25   (citations omitted, emphasis added). California courts acknowledge the availability of the

  26   implied covenant as an affirmative defense. See Wri Golden State v. Liu, 2012 Cal. App.

  27   Unpub. LEXIS 5696, *10, n.3 (Aug. 1, 2012) (acknowledging that breach of the implied

  28


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   1   covenant can be raised as affirmative defense); Santa Fe Braun v. Ins. Co. of N. Am., No.

   2   CGC-04-428686, 2012 Cal. Super. LEXIS 306 (Oct. 26, 2012) (same).

   3          In their dual roles as officers and directors of both REPS and of KP3, Erik and Ryan

   4   were invested with “discretionary power” because it was uniquely within the control of Erik

   5   and Ryan to provide—or withhold—their time and efforts from KP3’s business, and it was

   6   their time and efforts that KP3 viewed as the primary purpose and benefit of the Purchase

   7   Agreement. Erik and Ryan did not exercise this power in good faith but made a decision to

   8   abandon their management responsibilities, and to use KP3’s resources to build a competing

   9   enterprise, among other things. Relevant to this case, California courts have granted relief

  10   under the implied covenant where the litigants did not have express contractual obligations to

  11   one another, but were instead parties to a “single transaction.” See Harm, 181 Cal. App. 2d at

  12   416-17 (finding that all parties to a “single transaction” owed duties to one another under the

  13   implied covenant of good faith and fair dealing).       At minimum, there are issues of fact

  14   regarding whether and to what extent Erik and Ryan were acting as agents of REPS when they

  15   committed acts that deprived KP3 of its anticipated benefits under the Purchase Agreement,

  16   and these issues must be litigated in the proper forum. In Vortex, the Ninth Circuit held that

  17   equitable defenses to contract claims (such as impossibility) give rise to bona fide disputes for

  18   purposes of section 303 of the Bankruptcy Code. 277 F.3d at 1067.

  19          C.      BLPT’s Claim Is Subject To Bona Fide Dispute.

  20          Petitioning creditor BLPT asserts a claim against KP3 for $1,000,000 as assignee from

  21   the Thomas J. Pancheri Trust. (Dkt. No. 6, at 3). In February of 2017, Thomas J. Pancheri

  22   advanced $1 million to KP3, which was repaid, with interest, in July of 2017. (Pretrial

  23   Statement at ¶ 58.) On March 1, 2017, Thomas J. Pancheri advanced a second $1,000,000 to

  24   KP3 (the “TJP Loan”). (Id.) The TJP Loan is evidenced by a document entitled Promissory

  25   Note (Optional Advance Note) and dated March 1, 2017 (the “TJP Note”). (Id.) The TJP Note

  26   was signed by Robert on behalf of KP3, and made payable to the Thomas J. Pancheri Trust as

  27   payee. (Id.) The TJP Note provided for payment of interest at 8% per annum to be paid

  28   quarterly, and a maturity of principal and interest on December 31, 2017. (Id.) From March 1,


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   1   2017 through May 2017, KP3 paid Tom interest on the TJP Loan monthly. (Pretrial Statement

   2   ¶ 59.)

   3            In June of 2017, Tom instructed Robert to make further interest and principal payments

   4   to his ex-wife Bonnie Pancheri (“Bonnie”).10 (Trial Ex. AL at Rog. Response No. 16.) From

   5   June 2017 through the Petition Date, KP3 paid Bonnie monthly interest on the TJP Note.

   6   (Pretrial Statement ¶ 59.) On Thursday, December 28, 2017, Bonnie sent an email to Robert

   7   and John stating “Hi, Here is my wiring information for the loan repayment” and providing

   8   wire information for an account at Bank of America. Trial Ex. 3. The TJP Note matured on

   9   December 31, 2017, but payment was not due until January 2, 2018, see Cal. Civ. Code §§7,

  10   11, and was not overdue until January 3, 2018. See C-U.C.C. § 3304(b)(2). Petitioning

  11   Creditors filed the Petition one minute past 5:00 p.m. on January 2, 2018.

  12            Petitioning Creditors will likely argue that the TJP Note is a negotiable instrument

  13   governed by the California U.C.C., and BLPT is a holder in due course entitled to enforce the

  14   instrument. KP3 disputes that conclusion, and it must fail, because BLPT cannot satisfy the

  15   requisite elements under the U.C.C. and section 303 of the Bankruptcy Code.

  16                   i.        BLPT Has Not Established A Prima Facie Right To Payment Under

  17                             The Note, Including As To Whether It Is A Holder Of The Note.

  18            To complete the first phase of the burden-shifting analysis, BLPT must prove the prima

  19   facie validity and amount of its claim. Under the section 101(5) of the Bankruptcy Code, a

  20   claim is a right to payment. A putative claimholder’s right to payment generally will be

  21   determined under applicable non-bankruptcy law. Here, the applicable law is California law.

  22            Petitioning Creditors allege that the TJP Note is a negotiable instrument. Negotiable

  23   instruments are governed by article 3 of the California U.C.C. (If the TJP Note is not a

  24   negotiable instrument it will be evaluated under normal California contract law principles).

  25   Under the C- U.C.C., the entity with the right to payment is the holder. U.C.C. 1-201. To be a

  26   holder, the creditor must be in possession of the Note. See U.C.C. 1-201. BLPT cannot meet its

  27   prima facie burden to show a claim against the debtor, because BLPT failed to demonstrate

  28   10
          Bonnie is Erik and Ryan’s mother and John’s aunt, and was an insider of KP3 at least
       through October 2017.
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   1   that it is in possession of the TJP Note. BLPT has never asserted that it was in possession of

   2   the TJP Note and the evidence in the record is to the contrary. Accordingly, there is a bona fide

   3   dispute as to whether BLPT is a holder entitled to enforce the TJP Note. See Veal v. Am. Home.

   4   Mortg. Servicing, Inc. (In re Veal), 450 B.R. 897 (B.A.P 9th Cir. 2011).

   5          BLPT, through Tom, argues that the TJP Note was assigned to BLPT in April 2017. As

   6   evidence, BLPT offers a copy of the TJP Note with a purported assignment attached, dated as

   7   of April 1, 2017 (the “Assignment”). TJP never provided a copy of the TJP Note with

   8   Assignment attached to KP3, or even just the Assignment. Although the Assignment is dated

   9   as of April 1, 2017, Tom did not disclose the transfer to KP3 until the end of June. Trial

  10   Exhibit AL (BLPT Rog. Response) at No. 16. Accordingly, KP3 continued to pay interest to

  11   Tom through June. Pretrial Statement ¶ 59. Bonnie, the purported trustee of BLPT, did not

  12   contact KP3 to set up payment, or inquire about the interest payments that were paid between

  13   April and June. BLPT never sent KP3 any correspondence. KP3 made monthly interest

  14   payments to Bonnie, in her personal capacity.

  15          KP3 first saw the Assignment when a copy was produced by Mr. Gorrill hours before

  16   Tom was scheduled to testify in this proceeding as the person most knowledgeable about

  17   BLPT’s claim. When the Petition was filed, the TJP Note and Assignment were not attached,

  18   and the box on the Petition asking whether any petitioning creditor’s claim was the result of an

  19   assignment was not marked. (Dkt. No. 1, Sec. 12.) Petitioning Creditors amended the Petition

  20   to identify the transfer and attached the TJP Note with Assignment in mid-January, after Tom’s

  21   deposition. (Dkt. No. 6)

  22          BLPT may argue that Mr. Gorrill’s production of the Assignment constitutes evidence

  23   that the TJP Note was in BLPT’s possession. But, Mr. Gorrill’s production only evidences that

  24   Mr. Gorrill came into possession of the copy at some point, likely well after the Petition Date,

  25   given that the assignment was neither noted on the Petition nor attached. Given that Mr. Gorrill

  26   represents both Tom and BLPT, the production does not demonstrate that the Assignment was

  27   in BLPT’s possession on the Petition Date, particularly where it was neither mentioned nor

  28   attached to the Petition. Other than the production by Mr. Gorrill, there is no other evidence


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   1   that the TJP Note was ever transferred to BLPT. Bonnie, the purported trustee of BLPT, has

   2   not offered testimony in these proceedings. KP3 issued requests for production of all

   3   documents evidencing BLPT’s claim, but no documents, other than the emailed copy of the

   4   Assignment were ever produced. BLPT objected to production on the grounds of privacy, Trial

   5   Exhibit AL (BLPT Rog. Response) at No. 26 (“to the extent they are not otherwise private.”),

   6   even though an order of protection was entered and even though it also argued that the

   7   documents were publicly available from the family court. Id. Despite numerous requests,

   8   BLPT insisted that all relevant documents had been produced. If no other evidence exists, then

   9   there is no evidence that the TJP Note was ever in BLPT’s possession.

  10             BLPT, through Tom, may argue that it was in possession because Tom retained the TJP

  11   Note on BLPT’s behalf, as agent. Tom’s assertion that he is the agent for his ex-wife’s marital

  12   trust beguiles, particularly when unsupported by even a scintilla of corroborating evidence.

  13                                                                                            When

  14   asked why he was providing testimony on behalf of BLPT’s claim, he answered that he was

  15   testifying because he was there when the loan was made, not because he was acting as BLPT’s

  16   agent. (Id. at 15:7-11.) When asked whether he had other roles vis-à-vis BLPT, Tom testified

  17   that he “handles investment of her money.” (Id. at 15:12-14). When asked how long that

  18   arrangement has been in place, Tom answered, “since its inception,” but when asked when that

  19   was, he said he did not recall. Id. at 15:7-8.

  20

  21                                                                                 The evidence of

  22   Tom’s role vis-a-vis the trust is ambiguous at best. BLPT cannot meet its prima facie burden to

  23   prove the validity of its claim on an empty evidentiary record and in light of Tom’s lack of

  24   candor.

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   1                  ii.       Even if BLPT Is A Holder, There Is A Genuine Dispute Of Material

   2                            Fact That It Is A Holder In Due Course.

   3          Even if BLPT could meet its prima facie burden to show that it is a holder entitled to

   4   enforce the note under U.C.C. § 3301, there is a genuine dispute of material fact as to BLPT’s

   5   rights as a putative holder in due course.

   6          Under the U.C.C., had Tom sought to enforce the TJP Note on his own behalf, he could

   7   have, but his claim would be subject to KP3’s defenses against him. See C-U.C.C. § 3305(a)(2)

   8   (“Except as stated in subdivision (b), the right to enforce the obligation of a party to pay an

   9   instrument is subject to all of the following:. . .(2) . . .a defense of the obligor that would be

  10   available if the person entitled to enforce the instrument were enforcing a right to payment

  11   under a simple contract.”). Petitioning Creditors argue that the “alleged harm caused by Tom

  12   has never been articulated or explained by KP3 at any time.” (Pretrial Statement ¶ 62.) It is

  13   unclear when would have been the right time to articulate or explain Tom’s actions, to Tom,

  14   who is, of course, most aware of his role in the events described herein, that led to the

  15   termination of his sons’ employment from KP3 mere months after KP3 was formed and the

  16   commencement of the State Court Action. Notably, contract defenses are not enforceable

  17   against holders in due course. C-U.C.C. § 3305(b).

  18          For protection against Tom’s bad acts being imputed to the holder, BLPT will likely

  19   argue that it is a holder in due course. Under U.C.C. § 3302, a holder in due course takes (a) for

  20   value, (b) in good faith, (c) without notice that the (i) instrument is overdue or has been

  21   dishonored or there is an uncured default, (ii) instrument has been altered, (iii) of any claim

  22   under U.C.C. § 3306 (the rights of a person that is not a holder in due course); and (iv) without

  23   notice that any party has a defense or claim in recoupment. Yet, BLPT has averred no facts

  24   tending to support this conclusion, other than

  25

  26                        No evidence was provided about the circumstances under which Bonnie

  27   allegedly accepted a note, but Tom accepted payment in full in cash.

  28


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   1          If BLPT is a holder, whether BLPT is a holder in due course materially alters its rights

   2   under section 3305, because, as stated above, a holder in due course takes free of ordinary

   3   contract defenses, while a holder not in due course does not. The factual disputes about

   4   whether value was given give rise to a bona fide dispute.

   5          BLPT argues that there is no legitimate dispute because whether the TJP Note was

   6   assigned to Bonnie, as Tom said in June, or BLPT, as stated on the Petition, makes no

   7   difference because Bonnie is BLPT’s trustee. Of course, no evidence was submitted to prove

   8   that Bonnie was BLPT’s trustee, or that BLPT exists at all. The burden of proof is on BLPT,

   9   and it has failed to meet even its prima facie burden.

  10          Moreover, under the U.C.C. an obligor who pays the wrong payee bears the risk. See,

  11   e.g., Jackson v. 2109 Brandywine, 180 Md. App. 535 (Md. Ct. Sp. Appls. 2008) (collecting

  12   cases); Equity Bank v. Gonsalves, 44 Conn. Supp. 464, 691 A.2d 1143, 1145-46 (Conn. Sup.

  13   Ct. 1996) (“The rule as to the payment and discharge of negotiable instruments is that the

  14   payment of the bill or note must be made to the rightful holder or his authorized agent. . . .

  15   Paying the wrong party does not discharge a negotiable note”) (citations omitted); Madison-

  16   Hunnewell Bank v. Hurt, 903 S.W.2d 175, 179 (Mo. App. 1995) (“The rule is that the payor of

  17   a note exposes himself to double liability if he delivers his payment to someone other than the

  18   holder.”)

  19          “However, there is an exception to the rule: if the payor can show that the one to whom

  20   he paid the money stood in the position of agent to the owner of the note, he is entitled to the

  21   benefit of payment.” Madison-Hunnewell Bank, 903 S.W.2d at 179; see also Manufacturers &

  22   Traders Trust Co. v. Korngold, 162 Misc. 2d 669, 618 N.Y.S.2d 744 (N.Y. Sup. 1994)

  23   (“Inasmuch as payment to an agent who has neither possession of the note and mortgage nor

  24   express authority to receive payment does not relieve the mortgagor of the obligation to make

  25   payment to the mortgagee, a mortgagor making payment to an agent who fails to provide any

  26   evidence of its authority does so at his peril.”) (citation omitted); Lambert v. Barker, 232 Va.

  27   21, 348 S.E.2d 214, 216, 3 Va. Law Rep. 462 (Va. 1986) (“[T]he burden of proving an agency

  28   relationship rests on the party claiming payment as a defense. One making payment to an agent


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   1   has the burden of showing that the agent has either express or apparent authority to receive

   2   such payment upon behalf of his principal, and the evidence to that effect must be clear and

   3   convincing. If payment is made to a party who does not have in hand the obligation, the debtor

   4   takes the risk of such party having the authority to make collection.”) (citation omitted); see

   5   also 59 C.J.S. Mortgages § 453 (2007).

   6           Petitioning Creditors created an ambiguity by filing a Petition on the date that the TJP

   7   Note was due, in the name of an entity that may or may not exist. It cannot disavow the

   8   ambiguity it created by pretending that there is no significant legal distinction between a

   9   trustee and a trust.

  10                   iii.      BLPT’s Other Arguments Support The Conclusion That There Is A

  11                             Bona Fide Dispute

  12           BLPT’s other argument in support of its claim is that “as a matter of law, and the

  13   Purchase Agreement, preclude any purported set-off as a result of alleged activities of third

  14   parties including Erik and Ryan.” (Pretrial Statement ¶ 62.) BLPT’s argument, as far as it can

  15   be understood, simply highlights that all of the Petitioning Creditor’s claims are related to each

  16   other, and arise under the same nucleus of operative, disputed fact. In re TPG Troy, LLC, 492

  17   B.R. 150, 160 (Bankr. S.D.N.Y. 2013) (dismissing petition where “plethora of ongoing

  18   litigation that involves the same nucleus of facts speaks strongly to the likelihood that there is a

  19   bona fide dispute….”). As a result, all of Petitioning Creditors’ claims are the subject of bona

  20   fide disputes and the Petition should be dismissed.

  21           D.      The REPS Line Of Credit Is Subject To Bona Fide Dispute.

  22           REPS asserts a claim for $1,450,000 for money loaned to KP3 (the “REPS Loan”).

  23   (Pretrial Statement ¶ 31.) The REPS LOC claim is subject to bona fide dispute both as to the

  24   existence and amount of the claim, and also as to its terms.

  25                   i.        REPS Cannot Meet Its Prima Facie Burden On The REPS LOC

  26           In the first phase of the burden shifting analysis, REPS must make a prima facie case as

  27   to the validity and amount of this debt. REPS has failed to carry this burden. Under California

  28   state law, the material terms of a loan include the identity of the lender and borrower, the


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   1   amount of the loan, and the terms for repayment. Peterson Dev. Co. v. Torrey Pines Bank, 233

   2   Cal.App.3d 103, 115 (Cal 4th 1991) (granting summary judgment to lender on putative

   3   borrower’s claim that borrower reasonably relied on lender’s oral commitment to loan funds,

   4   as evidenced by a letter of commitment that omitted material terms). It is axiomatic that an

   5   agreement (whether or not in writing) that omits material terms is not binding on either party.

   6   Id.; Langley v. FDIC, 484 U.S. 86, 91 (1987) (“Quite obviously, the parties’ bargain cannot be

   7   reflected without including the conditions upon their performance, one of the two principal

   8   elements of which contracts are constructed . . . . [P]romises, which impose duties, and

   9   conditions, which make duties conditional, are the main components of agreements.”)(citing

  10   Farnsworth, Contracts § 8.2, p. 537 (1982)).

  11          REPS concedes that KP3’s obligation to repay is not evidenced by a signed writing.

  12   (Pretrial Statement ¶ 33.) And, the material terms of KP3’s repayment obligation, namely

  13   interest rate and maturity date, are disputed. Accordingly, REPS cannot meet its prima facie

  14   burden of proving its claim, and, cannot act as a qualifying creditor in commencing this

  15   proceeding.

  16          “The absence of a written agreement is in and of itself grounds for finding the Proposed

  17   Debtor’s alleged liability is subject to substantial questions of fact.” In re Elverson, 492 B.R.

  18   831, 841 (Bankr. E.D. Pa. 2013) (citing In re Express Car & Truck Rental, Inc., 440 B.R. 422,

  19   434 (Bankr. E.D. Pa. 2010)). “[I]n the absence of a written agreement memorializing the terms

  20   of the alleged agreement, there is no doubt that a substantial question exists regarding the bona

  21   fide status of the petitioning creditor.” Id. (summarizing In re Express Car & Truck Rental,

  22   Inc.) (internal quotations omitted). In Elverson, the petitioning creditor submitted a “memo”, a

  23   one line writing evidencing an obligation to repay $850,000 that had been loaned to the alleged

  24   debtor. 492 B.R. at 837. The court found the memo was sufficient to prove that money was

  25   owed, but was not an enforceable contract because the essential terms of the loan agreement

  26   were missing, namely, the interest rate, and the maturity date. In the absence of those terms, the

  27   writing was insufficient to constitute a contract. Id. The court recognized that at a trial on the

  28   merits, perhaps more evidence could be adduced as to the terms of the loan; but for purposes of


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   1   an involuntary proceeding, substantial issues precluded the finding that the debt was not

   2   subject to bona fide dispute. The same is true here, and REPS has not made a prima facie case

   3   as to the existence—and specific terms—of the obligation on which its claim against KP3 is

   4   based.

   5                   ii.    There Are Bona Fide Disputes Regarding KP3’s Obligations Under

   6                          The REPS LOC, Including As To The Maturity Date.

   7            Even if REPS could meet its prima facie burden, KP3’s obligations on the REPS Loan

   8   are in bona fide dispute because there are genuine issues of material fact as to which writing

   9   governs the parties’ obligations. Tom testified that the loan is governed by the terms set forth

  10   in that certain “Short Term Line of Credit Optional Advance Promissory Note” (the “February

  11   LOC”). If the February LOC governs, then the interest rate is 6%, and the term is from

  12   February 1, 2017 through November 30, 2017 (Karr Declaration Ex. H (February LOC and

  13   July LOC), at 1, § 3). REPS acknowledges that the February LOC was unsigned, but argues

  14   that it was ratified by the prior resolution of the Board of Directors in January 2017. (Pretrial

  15   Statement ¶33.) REPS Loan was not paid on or before December 1, 2017, and accordingly,

  16   REPS concluded that KP3 was in default. (Id.) REPS justifies the commencement of this

  17   proceeding in part because of the purported default on the REPS Loan. (See id. at ¶¶86-88.)

  18            KP3 contends that whatever the effect of the February LOC, it was modified or novated

  19   in July 2017 as evidenced by the Renewal Short Term Line of Credit (Optional Advance

  20   Promissory Note) dated July 10, 2017 (the “July LOC” and together with the February REPs

  21   LOC, the “REPS LOC”) between REPS and KP3. Karr Declaration ¶17 and Ex. H at 5, § 11.

  22   Under the July LOC, the interest rate is 8%, and the term is from July 10, 2017 through April

  23   10, 2018. Ex. H at 4, §§ 3, 4. The July LOC by its own written terms superseded and replaced

  24   the February LOC. Id. at 5, § 11. Like the February LOC, the July LOC was never executed,

  25   but unlike the February LOC, the July LOC was simultaneously unanimously ratified by a

  26   resolution of the KP3’s Board of Directors dated July 10, 2017, which resolution was executed

  27   by both Erik and Ryan. Karr Declaration ¶ 17; Ryan Dep. Ex. P, at 1. Thus, even if the

  28   February LOC evidenced the parties’ agreement at a certain time, there was either a


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   1   modification or a novation in July. Thus, even if the February LOC evidenced the parties’

   2   agreement at a certain time, there was either a modification or a novation in July. See Cal. Civ.

   3   Code § 1531 (“Novation is made (1) by the substitution of a new obligation between the same

   4   parties, with intent to extinguish the old obligation . . . .”).

   5           Further, the modification or novation of the February LOC was supported by

   6   consideration paid from KP3 to REPS. It is undisputed that on July 21, 2017, shortly after the

   7   KP3 Board approved the July LOC, KP3 made a payment of                                toward the

   8   outstanding principal and interest on the REPS LOC. (Pretrial Statement ¶31; Trial Ex. O

   9   (REPS LOC Payment Summary Created by Tom Pancheri). It is also undisputed that KP3 was

  10   under no legal obligation to make a principal payment at that time.

  11                                                                  KP3 contends that this payment was

  12   made to REPS as consideration for REPS’ agreement to enter into the superseding July LOC,

  13   which both (1) increased the amount available under the REPS LOC, and (2) extended the

  14   maturity date on the LOC. (Karr Declaration ¶ 17).

  15

  16

  17           Petitioning Creditors may argue that the dispute between the February LOC and July

  18   LOC is not material, because whether or not the debt was mature does not impact whether

  19   Petitioning Creditors have a claim for purposes of section 101(5) and 303(b) of the Bankruptcy

  20   Code. This argument misses the mark. The REPS’ LOC claim is in bona fide dispute because

  21   REPS asserted that the claim had matured, when it had not, and that claim is a basis for this

  22   proceeding. See In re Fountainhead Global Trust, No. 604-69908, 2005 Bankr. LEXIS 1423,

  23   *9, 11-12 (Bankr. D. Oregon July 1, 2005) (holding that the dispute over whether a statute of

  24   limitations was applicable to petitioning creditors claim was sufficient to constitute a bona fide

  25   dispute for purposes of section 303(b) and observing that the issue was not whether petitioning

  26   creditors’ claim was precluded, but whether there was a bona fide dispute over whether

  27   petitioning creditor’s claim was precluded).          Moreover, while a default generally is not

  28   required for a petitioning creditor to commence an involuntary bankruptcy, if the REPS LOC


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   1   is not due until April 10, 2018, then it cannot factor into the generally not paying debts

   2   analysis, which only looks at obligations that came due (i.e. matured) prior to the Petition

   3   Date.

   4           REPS may argue that it has met its prima facie burden even if certain of the terms of

   5   repayment are not determinable because it is undisputed that KP3 borrowed some money

   6   (more than the statutory threshold) from REPS. First, as set forth above, in the absence of an

   7   agreement on material terms, there is no enforceable agreement (there may be an equitable

   8   right to payment, but that would certainly implicate disputes of fact and law). Second, post-

   9   BAPCPA courts reject the argument that just because some amount is due, there is no bona

  10   fide dispute. “Petitioning Creditors bear the burden of establishing that there is no genuine

  11   issue of material fact that bears upon the liability or amount of the claim, not merely asserting

  12   that some amount of money (more than the threshold amount) is due to them as a whole.” C&C

  13   Jewelry Mfg. v. Laxmi Jewel Inc. (In re C &C Jewelry Mfg.), No. 08-1238, 2009 Bankr. LEXIS

  14   4516, *30 (B.A.P. 9th Cir. April 10, 2009) (“C&C”) (reversing bankruptcy court’s grant of

  15   summary judgment to petitioning creditor on the basis that there was at least some amount due,

  16   even if that amount could not be precisely ascertained); Mont. Dep’t of Revenue v. Blixseth,

  17   No. 2:13-1324-JAD, 2017 U.S. Dist. LEXIS 206513 (D. Nev. Dec. 15, 2017) (bankruptcy code

  18   is unambiguous that dispute over amount of claim will disqualify creditor even if that creditor

  19   has an otherwise valid debt in some amount).

  20           Moreover, even if REPS could conjure an enforceable provable oral contract, KP3 has

  21   defenses to performance based on Erik and Ryan’s conduct which frustrated the purpose of the

  22   loan which and constitutes a defense to repayment. The parties agree that the REPS Loan was

  23   advanced in connection with establishing KP3. Trial Exhibit AM (REPS Rog. Response) at

  24   No. 4 (REPS LOC and TJP Note were extended to KP3 “in connection with the formation of

  25   the business in January 2017.”). KP3 would have never borrowed funds from REPS if it had

  26   known that Erik and Ryan would compete with KP3 within a few months of causing REPS to

  27   lend money. Erik and Ryan’s conduct give rise to defenses to KP3’s obligation to repay the

  28   loan under state law, and a gives rise to a right of offset against REPS.


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   1          REPS cannot prove that the liability or amount of its line of credit claim is beyond bona

   2   fide dispute, and this claim must be disqualified.

   3          E.      The REPS Purchase Agreement Is Subject To Bona Fide Dispute

   4          REPS asserts a claim for $2,139,529.72 pursuant to a ticket purchase agreement (the

   5   “Purchase Agreement”) by which KP3 agreed, in connection with establishing KP3, to

   6   purchase an inventory of event tickets from REPS for a total sales price of $3,565,992.88.

   7   (Pretrial Statement ¶ 39.) The Purchase Agreement was executed by Robert on behalf of KP3

   8   and by Erik on behalf of REPS. (Id. at ¶40.) KP3 paid the first two installments set forth in

   9   paragraph 3 of the Purchase Agreement, $1,426,354 million in the aggregate, but has not paid

  10   the third installment, $2,139,529.72. (Id.) The price at which KP3 purchased the Legacy

  11   Inventory from REPS, as set forth in paragraph 3 of the Purchase Agreement, was derived by a

  12   formula: cost plus a twenty percent premium. (Trial Ex. 9 (Purchase Agreement) at ¶ 3).

  13

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  16                  i.        The Purchase Agreement Must Be Enforced In Arbitration, And Is

  17                            Not Properly Addressed In This Court

  18          As a threshold matter, REPS claim under the Ticket Purchase Agreement is in bona fide

  19   dispute because REPS brought this dispute—which has not reduced the dispute to judgment--to

  20   the bankruptcy court despite a mandatory venue in a different forum. In re Mt. Diaries, Inc.,

  21   372 B.R. 623, 634-36 (Bankr. S.D.N.Y. 2007).

  22          The Purchase Agreement contains a “Binding Arbitration” provision stating that:

  23   “In the event that a dispute arises between the parties concerning the enforcement or the

  24   interpretation of any provisions of this Agreement, such dispute shall be submitted to

  25   arbitration for resolution.” (Trial Ex. 9 (Purchase Agreement) at ¶ 21.1.) The provision goes

  26   on to state that “such arbitration shall be final and binding, and shall be conducted” with an

  27   arbitrator from the American Arbitration Association. (Id.) The following paragraph of the

  28   Purchase Agreement is titled “Mandatory Venue,” and states that the “aforementioned choice


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   1   of venue is intended by the parties to be mandatory and not permissive in nature, thereby

   2   precluding the possibility of litigation between the parties with respect to or arising out of

   3   this Agreement in any jurisdiction other than that specified in this paragraph.” Id.

   4                There can be no doubt that, given the broad scope of the Purchase Agreement’s

   5   mandatory arbitration provision, Petitioning Creditors were legally required to submit this

   6   dispute to arbitration. See, e.g., Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 721 (9th Cir. 1999)

   7   (where clause calls for arbitration of disputes “arising in connection with” the contract,

   8   plaintiff’s “factual allegations need only ‘touch matters’ covered by the contract containing the

   9   arbitration clause and all doubts are to be resolved in favor of arbitrability.”) (quoting

  10   Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, 473 U.S. 614, 624 n.13 (1985)); see also

  11   Cal. Code Civ. Proc. § 1281.2; St. Agnes Med. Ctr. v. Pacificare of Cal., 31 Cal. 4th 1187,

  12   1195 (2003) (“State law, like the FAA, reflects a strong policy favoring arbitration agreements

  13   . . . .”).

  14                The arbitrability of REPS’ claim under the Purchase Agreement is not even a close call:

  15   this proceeding is an attempt by Petitioning Creditors to “enforce” the terms of the Purchase

  16   Agreement,

  17

  18

  19                             REPS’ claim under the Purchase Agreement falls squarely within that

  20   agreement’s binding arbitration provision, and should have been filed in that venue.

  21   Petitioning Creditors’ attempt to enforce the Purchase Agreement in bankruptcy requires a

  22   finding that the claim is in bona fide dispute. In re Mt. Dairies, Inc., 372 B.R. at 634.

  23                       ii.      Petitioning Creditors Admit That The Amount They Seek Under the

  24                                REPS Purchase Agreement Is Disputed.

  25                The Purchase Agreement contains a rather unusual provision stating: “This

  26   Agreement…may be amended and/or modified by an oral agreement between the parties…”

  27   (Ex. 9 at ¶ 11.) In addition to the approximately $2.1 million included in REPS’ claim on the

  28   Petition, REPS has asserted an additional amount of over $800,000 is due pursuant to an oral


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   1   amendment to the Purchase Agreement.

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              No doubt recognizing the threat this dispute poses to REPS’ claim under the Purchase
  21
       Agreement, Petitioning Creditors now seek to obfuscate their claims and now argue that it was
  22
       Erik and Ryan individually—and not REPS—who were promised additional sums by KP3
  23
       based on a verbal modification to the Purchase Agreement. Pretrial Statement ¶56. But this
  24
       characterization of the supposed verbal agreement is flatly inconsistent with the evidence
  25
       adduced in this proceeding. For example, an email produced by Erik in this proceeding
  26
       includes the following statement from Erik to Tom: “In addition, as we previously agreed,
  27
       KP3 will pay REPS $853,000 for the excess profit from the sale of tickets purchased at the
  28
       start of our venture.” Trial Ex. DH (EP-00000961). KP3 disputes that any amount is owed to

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   1   REPS on the basis of this alleged verbal agreement. But for purposes of this proceeding, the

   2   existence of this dispute is independently sufficient to establish that REPS’ claim under the

   3   Purchase Agreement is in bona fide dispute.

   4          Bankruptcy Courts reject creditor attempts to pick an undisputed number, and obfuscate

   5   the disputed portions. See e.g. C&C Jewelry Mfg. v. Laxmi Jewel Inc. (In re C&C Jewelry

   6   Mfg.), 2009 Bankr. LEXIS 4516, *32 (expressly rejecting petitioning creditor’s argument that

   7   so long as some undisputed amount is due, that is sufficient to satisfy the bona fide dispute

   8   requirement); In re ELRS Loss Mitigation, LLC, 325 B.R. 604, 628 (Bankr. N.D. Ok. 2005)

   9   (“[T]he testimony of [petitioning creditor] is a model of obfuscation. He acknowledges the

  10   existence of the equipment purchase agreement, admits executing the same, and then claims to

  11   be owed amounts far in excess of the amounts set forth therein.”). The reasoning is clear. The

  12   bona fide dispute requirement is intended to prevent creditors from commencing involuntary

  13   petitions to coerce reluctant debtors to pay. Creditors who hold claims that are at least

  14   somewhat undisputed may be the most inclined to commence an involuntary petition to coerce

  15   a debtor to pay, rather than commence a lawsuit in some other, slower forum.

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  18                          Rather than shielding debtors from vexatious creditors, allowing creditors

  19   with partially disputed claims to sustain involuntary petitions turns the bankruptcy into the

  20   court of first resort for claims resolution, surely not the intent of Congress. In Re Fountainhead

  21   Global Trust, 2005 Bankr. LEXIS 1423, at * 10 (“[T]he exclusion of holders of disputed

  22   claims from initiating involuntary cases is consistent with the overall structure of the

  23   Bankruptcy Code. The primary function of the bankruptcy court is to oversee liquidation or

  24   reorganization under Title 11; the adjudication of particular disputes is an adjunct, and not a

  25   primary function.”).

  26          In In re Mt. Dairies, Inc., 372 B.R. 623 (Bankr. S.D.N.Y. 2007), the bankruptcy court

  27   dismissed the involuntary petition outright based on the attempt by the petitioner (Schneider-

  28   Valley) to “subtract out” the disputed aspects of its claim and pursue the involuntary only on


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   1   the portion of the claim that was not subject to dispute. The Court rejected petitioning

   2   creditor’s argument that so long as the undisputed portion of its claim exceeded the statutory

   3   threshold, there was no bona fide dispute:

   4           The crux of Schneider-Valley’s argument its willingness to make post-petition
               corrections to its initial claim to prove that, although hundreds of thousands of dollars
   5
               may be in dispute, at least some amount (though ultimately no definitive amount) above
   6           the [threshold] in 11 U.S.C. § 303(b) must not be in dispute. These concessions do not,
               as Schneider-Valley contends, eliminate the bona fide dispute. Rather, they raise
   7           serious concerns over the legitimacy of Schneider-Valley’s entire claim. That a claim
               could have been filed in good faith when a substantial portion of that claim was the
   8           subject of a dispute on its face is untenable.
   9
               Finding in Schneider-Valley’s favor would encourage plaintiffs in two-party disputes to
  10           flock to bankruptcy court in the hopes of a brisk resolution of those disputes. At the
               very least, it would legitimatize the threat of an involuntary petition and provide
  11           plaintiffs with a powerful advantage. Defendants in two-party disputes would be placed
               at a significant disadvantage if, facing the stigma of bankruptcy, they were compelled
  12           to settled on unfavorable terms. This Court is not prepared to endorse a policy that
  13           would so disrupt the very fabric of our judicial system.

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       372 B.R. at 634 (internal citations omitted). Petitioning Creditors’ attempt to bring this
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       involuntary petition only as to certain elements of the parties’ dispute under the Purchase
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       Agreement, while saving other elements of the dispute for another day, is a similarly
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       “untenable” misuse of the bankruptcy system, and their claim under that agreement must be
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       rejected.11
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          Besides disputing that the Purchase Agreement can be enforced against it, KP3 also disputes
  25   the amount owed. A number of the tickets that KP3 acquired from REPS pursuant to the
       Ticket Purchase Agreement related to events that were later cancelled. The face value of the
  26   tickets for those cancelled events was refunded to REPS, and not to KP3. (Karr Decl. ¶ 38.)
       The face value of tickets that were transferred to KP3 under the Ticket Purchase Agreement
  27   but later cancelled is $196,923.25. (Id.) Factoring in the 20% premium that KP3 paid to REPS
       for these tickets, the amount is $236,307.90, and REPS has not reimbursed this amount to KP3.
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       (Id.)

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   1                   iii.    The REPS Purchase Agreement Is An “Interested Transaction,”

   2                           And REPS Bears The Burden To Prove The Agreement Is Not

   3                           “Void or Voidable”

   4           Even as to Petitioning Creditors’ claim under the written terms of the Purchase

   5   Agreement, significant disputes preclude a finding that the claim is not in bona fide dispute, as

   6   described in the following sections.

   7           When the Purchase Agreement was authorized by KP3’s Board of Directors, Erik and

   8   Ryan had an “interest” in the transaction given their roles as Directors of both REPS and

   9   KP3.12 RJN as Ex. AS (REPS Feb. 6, 2018 Sec. of State Filing) and (Ryan Dep. Ex. N.

  10   January 17, 2017 KP3 Board Action at § 3. (Under California Corporations Code Section 310,

  11   an interested transaction is void or voidable unless one of the following criteria is satisfied:

  12        (1) The material facts as to the transaction and as to such director’s interest are fully
                disclosed or known to the shareholders and such contract or transaction is approved by
  13
                the shareholders in good faith, with the shares owned by the interested director or
  14            directors not being entitled to vote thereon, or

  15        (2) The material facts as to the transaction and as to such director’s interest are fully
                disclosed or known to the board or committee, and the board or committee authorizes,
  16            approves or ratifies the contract or transaction in good faith by a vote sufficient without
                counting the vote of the interested director or directors and the contract or transaction
  17
                is just and reasonable as to the corporation at the time it is authorized, approved, or
  18            ratified, or

  19        (3) As to contracts or transactions not approved as provided in paragraph (1) or (2) of this
                subdivision, the person asserting the validity of the contract or transaction sustains the
  20            burden of proving that the contract or transaction was just and reasonable as to the
                corporation at the time it was authorized, approved or ratified.
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       (Cal. Corp. Code § 310(a)(1)-(3) (italics added). California courts describe the operation of
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       section 310(a) as follows: “Where a disinterested majority approves the transactions and there
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       was full disclosure, section 310(a)(2) applies, and the burden of proof is on the person
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       12
  25      Calif. Corporations Code Section 310(a) defines an interested transaction as a “contract or
       other transaction between a corporation and one or more of its directors, or between a
  26   corporation and any corporation, firm or association in which one or more of its directors has a
       material financial interest.” Cal. Corp. Code § 310(a). “Section 310 does not, however,
  27   require an expectation of pecuniary gain from the transaction itself.” Wolkowitz v. Lerner (In
       re Imperial Credit Indus.), No. SA CV 07-777CAS, 2008 U.S. Dist. LEXIS 71984 *16-17 n.5
  28
       (C.D. Cal. Sep. 18, 2008).

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   1   challenging the transaction. Where, however, the approval was not obtained from a

   2   disinterested board vote, section 310(a)(3) applies and requires the person seeking to uphold

   3   the transaction to prove it was “just and reasonable” to the corporation.” Sammis v. Stafford,

   4   48 Cal. App. 4th 1935, 1943 (1996) (internal citations omitted).

   5          Because Erik and Ryan voted to authorize the transaction, REPS cannot avail itself of

   6   section 310(a)(1) to validate the transaction. Section 310(a)(2) is also not available to REPS,

   7   because Erik and Ryan were two of KP3’s four Directors at the time, and thus the vote could

   8   not have been approved by a majority of the KP3 Board without counting Erik’s and Ryan’s

   9   votes. Ryan Dep. Ex. N. (January 17, 2017 KP3 Board Action) at § 3. Accordingly, pursuant

  10   to Corporations Code Section 310(a)(iii), the validity of the Purchase Agreement is dependent

  11   on REPS’ “proving that the contract or transaction was just and reasonable as to the

  12   corporation at the time it was authorized, approved or ratified.” Any attempt by REPS to

  13   enforce the Purchase Agreement against KP3 will thus require REPS to prove that the contract

  14   was “just and reasonable” as to KP3 and should not be deemed void as an interested

  15   transaction.

  16          Petitioning Creditors have not offered evidence that the terms of the Purchase

  17   Agreement are just and reasonable, and accordingly, the terms of the Purchase Agreement are

  18   in bona fide dispute.

  19                  iv.      KP3’s Frustration of Purpose Defense To Enforcement Of The

  20                           Purchase Agreement

  21          REPS’ claim for payment under the Purchase Agreement is subject to the defense of

  22   frustration of purpose.    “Where, after a contract is made, a party’s principal purpose is

  23   substantially frustrated without his fault by the occurrence of an event the non-occurrence of

  24   which was a basic assumption on which the contract was made, his remaining duties to render

  25   performance are discharged, unless the language or circumstances [of the contract] indicate the

  26   contrary.” REST. OF CONTRACTS, 2ND, Section 265; see also Federal Leasing Consultants, Inc.

  27   v. Mitchell Lipsett Co., 85 Cal. App. 3d Supp. 44, 47-49 (1978) (upholding trial court decision

  28   that frustration of purpose defense excused party’s performance under commercial agreement).


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   1   The purpose of the Purchase Agreement was to free up Erik’s and Ryan’s time to enable them

   2   to exclusively devote their skills and effort to KP3. Erik and Ryan’s bad acts were committed

   3   after KP3 and REPS executed the Purchase Agreement, and constituted an intervening event

   4   that frustrated KP3’s purpose for entering into the agreement.

   5                          a.       The Purpose Of The REPS Purchase Agreement Was For

   6                                   Erik And Ryan To Focus Their Efforts On KP3’s Business.

   7          At his deposition, Ryan confirmed that the purpose of the Purchase Agreement was to

   8   permit Erik and Ryan to focus their time and energy on KP3’s business. In connection with

   9   establishing KP3, Erik and Ryan executed Employment Agreements pursuant to which they

  10   agreed that they would be employed by KP3 on a full time and exclusive basis to render and

  11   perform ticket purchase, marketing, pricing, and sales services, and related services for KP3.

  12   Karr Declaration Exs. BN, BO. (Employment Agreements at §§ 2.1-2.2) (“The EMPLOYEE

  13   shall devote the EMPLOYEE’s full time, attention and effort to the performance of the

  14   EMPLOYEE’s duties hereunder,” and “The EMPLOYEE shall render Ticket Marketing

  15   Services exclusively for and on behalf of the EMPLOYER at all times during the terms of this

  16   Agreement.”) Because Erik and Ryan still possessed a multi-million dollar ticket inventory in

  17   REPS (the “Legacy Inventory”) when KP3 was formed, their Employment Agreements with

  18   KP3 contained an exception to the exclusivity clause permitting Erik and Ryan to market and

  19   sell the tickets from the Legacy Inventory, and retain the proceeds for REPS. Id. at § 2.2.2.)

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  21                                        Ryan was an officer and director of REPS when the

  22   Purchase Agreement was executed (Karr Declaration ¶¶7, 37), and his testimony confirms that

  23   all parties to that agreement understood that its primary purpose was to permit Erik and Ryan

  24   to focus their full time and efforts on the business of KP3.

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   1                          b.       Erik And Ryan’s Bad Acts Frustrated The Purpose Of The

   2                                   REPS Purchase Agreement.

   3          Erik and Ryan’s bad acts frustrated the purpose of the Purchase Agreement, which—as

   4   Ryan has testified—was to permit Erik and Ryan to devote their full time and efforts to KP3.

   5   As described in the Statement of Facts, Erik and Ryan did not devote their “full time, attention

   6   and effort” to KP3, but were actively competing against KP3 and dedicating their time and

   7   efforts to their competing company. (See id.) Erik and Ryan then used KP3’s own employees

   8   and independent contractors (all of whom were on KP3’s payroll) to build their competing

   9   business, and in the process they aided and abetted these individuals’ violations of their own

  10   obligations to KP3.

  11          In addition to generally failing to devote their full time and effort to KP3’s business,

  12   Erik and Ryan’s bad acts further frustrated the purpose of the Purchase Agreement because

  13   they specifically failed to devote their full time and attention to the resale of the ticket

  14   inventory that KP3 had agreed to purchase from REPS. This is confirmed by the evidence

  15   that—in order to free up themselves and other KP3 employees to work on their competing

  16   endeavor—Erik and Ryan knowingly outsourced KP3’s concert ticket resale function to a

  17   third-party vendor they knew to be inferior to KP3’s own staff.

  18                                                                                      Importantly,

  19   under the frustration of purpose doctrine it is not necessary that KP3 prove REPS’

  20   culpability for the bad acts of Erik and Ryan. Indeed, most cases in which the “frustration of

  21   purpose” defense is successfully asserted do not involve any wrongdoing by a party to the

  22   agreement; it is the unanticipated intervening event that relieves further performance, even if

  23   the other party to the contract has done nothing improper. RESTATEMENT OF CONTRACTS, 2ND,

  24   Sec. 265, illustrations to comment a. KP3 need only show that (1) Erik and Ryan’s bad acts

  25   were not anticipated by the parties, and (2) Erik and Ryan’s bad acts have frustrated KP3’s

  26   primary purpose under the Purchase Agreement which, according to Ryan Pancheri, was to

  27   “free up” Erik and Ryan to devote their best efforts to KP3.            See RESTATEMENT OF

  28   CONTRACTS, 2ND, Sec. 265. KP3 can establish both of these elements, and the frustration of


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   1   purpose will operate as a powerful defense to KP3’s performance under the Purchase

   2   Agreement. The frustration of purpose defense confirms the existence of a bona fide dispute as

   3   to REPS’ claim under the Purchase Agreement.13

   4   VII.   CONCLUSION AND RESERVATION OF RIGHTS

   5          First, Petitioning Creditors cannot show that KP3 is a company that is generally not

   6   paying its debts as they come due, and the Petition must be dismissed. Second, the Petition

   7   must be dismissed because it was filed by the Pancheri Creditors in bad faith, and joined in by

   8   SDCC in bad faith. Third, the Petitioning Creditors cannot show that their claims are not

   9   subject to bona dispute as to liability and amount and they have acknowledged that KP3 has

  10   significantly more than 12 eligible creditors – therefore, the Petition must be dismissed.

  11          If the Court dismisses the Petition under Bankruptcy Code Section 303(b), 303(h) or
  12   305, or otherwise, KP3 reserves the right to file a motion and develop the record for relief
  13   under Section 303(i) of the Bankruptcy Code, and respectfully requests that the Court reserve
  14   jurisdiction to consider such motion.
  15   VIII. LOG OF EXHIBITS
  16          The Parties’ Exhibit list is filed contemporaneously herewith.
  17                                           Respectfully submitted,
       Dated: April 3, 2018                    STRADLING YOCCA CARLSON & RAUTH, P.C.
  18

  19                                           By: /s/ Fred Neufeld
  20                                               Fred Neufeld
                                                   Marianne Mortimer
  21                                               Tatiana Ingman
                                               Counsel for KP3 Endeavors, Inc.
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       13
  24      Notably, Restatement Second of Contracts § 272 says that where the “frustration of purpose”
       doctrine relieves a party of its duty to perform, restitution may still be available to allow some
  25   recovery based on any actual benefits conferred under the agreement. Here, the amount of
       restitution KP3 owes to REPS for benefits conferred under the Purchase Agreement—if any—
  26   would be subject to evidence to be developed in the AAA arbitration proceeding. This is just
       further confirmation that bona fide disputes exist both as to the existence and amount of REPS’
  27   alleged claim against KP3 under the Purchase Agreement. See Laxmi Jewel Inc. v. C&C
       Jewelry Mfg., Inc. (In Re C&C Jewelry Mfg, Inc.), 2009 Bankr. LEXIS 4517 (B.A.P. 9th Cir.
  28   April 14, 2009); Mont. Dep’t of Revenue v. Blixseth, No. 2:13-1324-JAD, 2017 U.S. Dist.
       LEXIS 206513 (D. Nev. Dec. 15, 2017).

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                                     PROOF OF SERVICE
 I am a resident of the State of California, over the age of 18 and not a party to this action.

 On April 3, 2018, I served the following documents:

 KP3 ENDEAVORS, INC.’S BRIEF IN SUPPORT OF DISMISSAL OF THE
 INVOLUNTARY CHAPTER 7 PETITION

 1. To Be Served by the Court Via Notice Of Electronic Filing (“NEF”):
     Under controlling Local Bankruptcy Rule(s) (“LBR”), the document(s) listed above will be
 served by the court via NEF and hyperlink to the document. On April 3, 2018, I checked the
 CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the
 email address(es) indicated below:

    Thomas B. Gorrill on behalf of Petitioning Creditor Bonnie L. Pancheri Trust
    tgorrill@gorillalaw.com, r53431@notify.bestcase.com

    Thomas B. Gorrill on behalf of Petitioning Creditor REPS Investments, Inc.
    tgorrill@gorillalaw.com, r53431@notify.bestcase.com

    Thomas B. Gorrill on behalf of Petitioning Creditor San Diego Computer Consulting
    tgorrill@gorillalaw.com, r53431@notify.bestcase.com

    Fred Neufeld on behalf of Alleged Debtor KP3 Endeavors, Inc.
    fneufeld@sycr.com, tingman@sycr.com

 2. Served by United States. Mail Or Overnight Mail:
     On April 3, 2018, I served the following person(s) and/or entity(ies) at the last known
 address(es) in this bankruptcy case or adversary proceeding by placing a true and correct copy
 thereof in a sealed enveloped in the Unites States Mail via 1) first class, postage prepaid, 2)
 certified mail with receipt number or 3) overnight mail service addressed as follows:

 3. Served by Personal Delivery, Facsimile Transmission or E-Mail:
    Under F.R.Civ.P. 5 and controlling LBR, on April 3, 2018, I served the following person(s)
 and/or entity(ies) by personal delivery, or (for those who consented in writing to such service
 method), by facsimile transmission and/or e-mail as follows:

        I declare under penalty of perjury under the laws of the United States of America that the
 statements made in the proof of service are true and correct.

 Executed on April 3, 2018                                            /s/ Christine Pesis
                                                                      Christine Pesis

                                                                      100 Wilshire Blvd., 4th Floor
                                                                      Santa Monica, Ca 90401
